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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION
                                                           )
In re:                                                     ) Chapter 11
                                                           )
CHESAPEAKE ENERGY CORPORATION,                             ) Case No. 20-33233 (DRJ)
et al., 1                                                  )
                   Debtors.                                ) (Jointly Administered)
                                                           )

    GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGIES,
    AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF ASSETS
        AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

         The Schedules of Assets and Liabilities (collectively with attachments, the “Schedules”)
and the Statements of Financial Affairs (collectively with attachments, the “Statements,” and
together with the Schedules, the “Schedules and Statements”) filed by the above-captioned debtors
and debtors-in-possession (collectively, the “Debtors”), were prepared pursuant to section 521 of
title 11 of the United States Code (the “Bankruptcy Code”) and rule 1007 of the Federal Rules of
Bankruptcy Procedure by management of the Debtors, with the assistance of the Debtors’
advisors, and are unaudited.

       These Global Notes and Statement of Limitations, Methodologies, and Disclaimers
Regarding the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs
(the “Global Notes”) are incorporated by reference in, and comprise an integral part of, each
Debtor’s respective Schedules and Statements, and should be referred to and considered in
connection with any review of the Schedules and Statements.

        While the Debtors’ management has made reasonable efforts to ensure that the Schedules
and Statements are as accurate and complete as possible under the circumstances, based on
information that was available at the time of preparation, inadvertent errors, inaccuracies, or
omissions may have occurred or the Debtors may discover subsequent information that requires
material changes to the Schedules and Statements. Because the Schedules and Statements contain
unaudited information, which is subject to further review, verification, and potential adjustment,
there can be no assurance that the Schedules and Statements are complete. The Schedules and
Statements should not be relied upon by any persons for information relating to current or future
financial condition, events, or performance of any of the Debtors or their affiliates. There can be
no assurance that such information is complete, and the Schedules and Statements may be subject
to revision.


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    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake Energy
    Corporation’s principal place of business and the Debtors’ service address in these chapter 11 cases is 6100 North
    Western Avenue, Oklahoma City, Oklahoma 73118.
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        The Schedules and Statements have been signed by [William Buergler], [Senior Vice
President and Chief Accounting Officer] of Chesapeake Energy Corporation. Accordingly, in
reviewing and signing the Schedules and Statements, [Mr. Buergler] necessarily relied upon the
efforts, statements, and representations of the Debtors’ other personnel and advisors. [Mr.
Buergler] has not (and could not have) personally verified the accuracy of each such statement and
representation, including, but not limited to, statements and representations concerning amounts
owed to creditors, classification of such amounts, and respective creditor addresses.

       The Global Notes supplement is in addition to any specific notes contained in each
Debtor’s respective Schedules or Statements. Furthermore, the fact that the Debtors have prepared
Global Notes or specific notes with respect to each of the individual Debtor’s Schedules and
Statements and not to those of another should not be interpreted as a decision by the Debtors to
exclude the applicability of such Global Notes or specific notes to any of the Debtors’ other
Schedules and Statements, as appropriate.

      Disclosure of information in one or more Schedules, one or more Statements, or one or
more exhibits or attachments to the Schedules or Statements, even if incorrectly placed, shall be
deemed to be disclosed in the correct Schedules, Statements, exhibits, or attachments.

1.     Description of Cases. On June 28, 2020 (the “Petition Date”), the Debtors filed voluntary
       petitions for relief under chapter 11 of the Bankruptcy Code in the United States
       Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”). The
       Debtors’ chapter 11 cases are jointly administered for procedural purposes only under the
       lead case caption In re Chesapeake Energy Corporation., et al., Case No. 20-33233 (DRJ)
       (Bankr. S.D. Tex.). The Debtors continue to operate their businesses and manage their
       properties as debtors-in-possession pursuant to sections 1107(a) and 1108 of the
       Bankruptcy Code. On July 9, 2020, the United States Trustee for the Southern District of
       Texas (the “U.S. Trustee”) appointed a statutory committee of unsecured creditors pursuant
       to section 1102(a)(1) of the Bankruptcy Code [Docket No. 301]. On July 24, 2020, the
       U.S. Trustee appointed a statutory committee of royalty owners pursuant to section
       1102(a)(1) of the Bankruptcy Code [Docket No. 488].

2.     “As Of” Information Date. To the best of the Debtors’ knowledge, the information
       provided herein represents the asset data of the Debtors as of June 30, 2020, except
       available cash, which is provided as of the Petition Date. All other information including
       trade liabilities and principal and accrued interest on funded debt are provided as of the
       Petition Date. Amounts ultimately realized may vary from net book value (or whatever
       value was ascribed) and such variance may be material. Accordingly, the Debtors reserve
       all of their rights to amend or adjust the value of each asset set forth herein. In addition,
       the amounts shown for total liabilities exclude items identified as “unknown,” “disputed,”
       “contingent,” “unliquidated,” or “undetermined,” and, thus, ultimate liabilities may differ
       materially from those stated in the Schedules and Statements.

3.     General Reservation of Rights. Reasonable efforts have been made to prepare and file
       complete and accurate Schedules and Statements; however, inadvertent errors or
       omissions, as well as discovery of conflicting, revised or subsequent information, may
       cause a material change to the Schedules and Statements. The Debtors reserve all rights to

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     amend, supplement or otherwise modify the Schedules and Statements from time to time,
     in all respects, as may be necessary or appropriate, including the right to amend,
     supplement or otherwise modify the Schedules and Statements with respect to any claim
     description, designation, or Debtor against which the claim is asserted; dispute or otherwise
     assert offsets or defenses to any claim reflected in the Schedules and Statements as to
     amount, liability, priority, status, or classification; subsequently designate any claim as
     “disputed,” “contingent,” or “unliquidated;” or object to the extent, validity, enforceability,
     priority, or avoidability of any claim, in each case, regardless of whether such claim is
     designated in the Schedules and Statements as “disputed,” “contingent” or “unliquidated”.
     Any failure to designate a claim in the Schedules and Statements as “disputed,”
     “contingent,” or “unliquidated” does not constitute an admission by the Debtors that such
     claim or amount is not “disputed,” “contingent,” or “unliquidated.” Listing a claim does
     not constitute an admission of (a) liability or (b) amounts due or owed, if any, in each case,
     by the Debtor against which the claim is listed or against any of the Debtors. Furthermore,
     nothing contained in the Schedules and Statements shall constitute a waiver of rights with
     respect to these chapter 11 cases, including without limitation, issues involving or defenses
     against claims, substantive consolidation, defenses, equitable subordination, or causes of
     action arising under the provisions of chapter 5 of the Bankruptcy Code or any other
     relevant nonbankruptcy laws to recover assets or avoid transfers. Any specific reservation
     of rights contained elsewhere in the Global Notes does not limit in any respect the general
     reservation of rights contained in this paragraph. Notwithstanding the foregoing, the
     Debtors shall not be required to update the Schedules and Statements.

4.   Basis of Presentation. Information contained in the Schedules and Statements has been
     derived from the Debtors’ books and records and historical financial statements. The
     Schedules and Statements have not, however, been subject to procedures that would
     typically be applied to financial statements prepared in accordance with Generally
     Accepted Accounting Principles (“GAAP”) and are not intended to reconcile fully with
     any financial statements prepared under GAAP. Therefore, combining the assets and
     liabilities set forth in the Schedules and Statements would result in amounts that are
     substantially different from financial information that would be prepared on a consolidated
     basis under GAAP. For financial reporting purposes, prior to the Petition Date, the Debtors
     prepared financial statements on a consolidated basis. Unlike the consolidated financial
     statements, the Schedules and Statements reflect the assets and liabilities of each separate
     Debtor, except where otherwise indicated. Moreover, given, among other things, the
     uncertainty surrounding the valuation, collection and ownership of certain assets and the
     valuation and nature of certain liabilities, to the extent that a Debtor shows more assets
     than liabilities, this is not an admission that the Debtor was solvent as of the Petition Date
     or at any time before the Petition Date. Likewise, to the extent a Debtor shows more
     liabilities than assets, this is not an admission that the Debtor was insolvent at the Petition
     Date or any time before the Petition Date. For the avoidance of doubt, nothing contained
     in the Schedules and Statements is indicative of the Debtors’ enterprise value.

5.   Confidential or Sensitive Information. There may be instances in which certain
     information in the Schedules and Statements intentionally has been redacted due to, among
     other things, concerns for the privacy of an individual. In addition, the very existence of
     certain agreements is (by the terms of such agreements) confidential. These agreements

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     have been noted, however, as “Confidential” in the Schedules and Statements, where
     applicable. The alterations or redactions are limited only to what the Debtors believe is
     necessary to protect the Debtor or the applicable third-party.

6.   Causes of Action. Despite their reasonable efforts to identify all known assets, the Debtors
     may not have listed all of their causes of action or potential causes of action against
     third-parties as assets in the Schedules and Statements. The Debtors reserve all of their
     rights with respect to any claims or causes of action (including avoidance actions),
     controversy, right of setoff, cross claim, counterclaim, or recoupment and any claim on
     contracts or for breaches of duties imposed by law or in equity, demand, right, action, lien,
     indemnity, guaranty, suit, obligation, liability, damage, judgment, account, defense, power,
     privilege, license, and franchise of any kind or character whatsoever, known, unknown,
     fixed or contingent, matured or unmatured, suspected or unsuspected, liquidated or
     unliquidated, disputed or undisputed, secured or unsecured, assertable directly or
     derivatively, whether arising before, on, or after the Petition Date, in contract or in tort, in
     law or in equity, or pursuant to any other theory of law (collectively, “Causes of Action”)
     they may have, and neither the Global Notes nor the Schedules and Statements shall be
     deemed a waiver of any claims or Causes of Action or in any way prejudice or impair the
     assertion of such claims or Causes of Action.

     In the ordinary course of their business, from time to time, the Debtors become involved
     in litigation and informal disputes among third parties because the Debtors may hold funds
     on account of mineral or other interests that are the subject of the dispute. When such
     litigation or informal disputes arise, the Debtors hold the relevant funds in suspense.
     Because these funds may not be property of their estates, the Debtors do not believe they
     have any liability on account of such litigation, and such informal disputes are not included
     in the Schedules and Statements.

7.   Recharacterization. The Debtors have made reasonable efforts to correctly characterize,
     classify, categorize, and designate the claims, assets, executory contracts, unexpired leases,
     interests, and other items reported in the Schedules and Statements. Nevertheless, due to
     the size and complexity of the Debtors’ businesses, the Debtors may not have accurately
     characterized, classified, categorized, or designated certain items, or may have omitted
     certain items. The Debtors reserve all of their rights to recharacterize, reclassify,
     recategorize, redesignate, add, or delete items reported in the Schedules and Statements at
     a later time as necessary or appropriate.

8.   Classifications. Listing (a) a claim on Schedule D as “secured,” (b) a claim on Schedule
     E/F as “priority,” (c) a claim on Schedule E/F as “unsecured,” or (d) a contract on Schedule
     G as “executory” or “unexpired” does not constitute an admission by the Debtors of the
     legal rights of the claimant or a waiver of the Debtors’ rights to recharacterize or reclassify
     such claims or contracts or to setoff of such claims.

9.   Court Orders. Pursuant to certain orders of the Bankruptcy Court entered in these chapter
     11 cases (the “First Day Orders”), the Debtors were authorized (but not directed) to pay,
     among other things, certain prepetition claims of employees, royalty holders, potential lien
     holders and taxing authorities. Accordingly, these liabilities may have been or may be

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      satisfied in accordance with such First Day Orders and, therefore, generally are not listed
      in the Schedules and Statements. Regardless of whether such claims are listed in the
      Schedules and Statements, to the extent such claims are paid pursuant to any order of the
      Bankruptcy Court (including the First Day Orders), the Debtors reserve all rights to amend,
      supplement or otherwise modify the Schedules and Statements as is necessary or
      appropriate.

10.   Liabilities. The Debtors have sought to allocate liabilities between the prepetition and
      postpetition periods based on the information and research that was conducted in
      connection with the preparation of the Schedules and Statements. As additional
      information becomes available and further research is conducted, the allocation of
      liabilities between prepetition and postpetition periods may change. The Debtors reserve
      the right to amend, supplement or otherwise modify the Schedules and Statements as they
      deem appropriate in this regard.

11.   Excluded Assets and Liabilities. The Debtors have excluded certain categories of assets
      and liabilities from the Schedules and Statements and certain accrued expenses. The
      Debtors also have excluded rejection damage claims of counterparties to executory
      contracts and unexpired leases that may be rejected (if any), to the extent such damage
      claims exist. In addition, certain immaterial or de minimis assets and liabilities may have
      been excluded. Finally, certain liabilities authorized to be paid pursuant to the First Day
      Orders are excluded from the Schedules and Statements.

12.   Inventories. Inventories are stated at cost or the lower of cost and market. The Debtors
      reserve all rights with respect to the valuation of any inventories.

13.   Property Rights. Exclusion of certain property from the Schedules and Statements shall
      not be construed as an admission that such property rights have been abandoned,
      terminated, assigned, expired by their terms or otherwise transferred pursuant to a sale,
      acquisition or other transaction. Conversely, inclusion of certain property shall not be
      construed to be an admission that such property rights have not been abandoned, have not
      been terminated or otherwise expired by their terms, or have not been assigned or otherwise
      transferred pursuant to a sale, acquisition or other transaction.

14.   Property and Equipment. Unless otherwise indicated, owned property (including real
      property) and equipment are stated at net book value. The Debtors may lease furniture,
      fixtures, and equipment from certain third-party lessors. Any such leases are set forth in
      the Schedules and Statements. Nothing in the Schedules and Statements is or shall be
      construed as an admission as to the determination as to the legal status of any lease
      (including whether any lease is a true lease or a financing arrangement), and the Debtors
      reserve all of their rights with respect thereto.

15.   Intercompany Payables and Receivables. Certain intercompany payables and receivables
      between the Debtors are set forth on Schedule F and Schedule A/B Part 11, Q. 77,
      respectively. The listing by the Debtors of any account between a Debtor and another
      Debtor is a statement of what appears in a particular Debtor’s books and records and does
      not reflect any admission or conclusion of the Debtors regarding the allowance,

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      classification, characterization, validity, or priority of such account. The Debtors take no
      position in these Schedules and Statements as to whether such accounts would be allowed
      as a claim, an interest, or not allowed at all. The Debtors and all parties-in-interest reserve
      all rights with respect to such accounts.

16.   Estimates. To prepare and file the Schedules and Statements in accordance with the
      deadline established in these chapter 11 cases, management was required to make certain
      estimates and assumptions that affected the reported amounts of these assets and liabilities.
      The Debtors reserve all rights to amend, supplement or otherwise modify the reported
      amounts of assets and liabilities to reflect changes in those estimates or assumptions.

17.   Fiscal Year. Each Debtor’s fiscal year ends on December 31.

18.   Currency. All amounts are reflected in U.S. dollars.

19.   Executory Contracts. Although the Debtors have made diligent attempts to properly
      identify the Debtor counterparty(ies) to each executory contract on Schedule G, it is
      possible that the Debtors may have inadvertently failed to do so due to the complexity and
      size of the Debtors’ businesses. The Debtors reserve all of their rights with respect to the
      named parties of any and all executory contracts, including the right to amend, supplement
      or otherwise modify Schedule G. In addition, although the Debtors have made diligent
      attempts to properly identify executory contracts and unexpired leases, the inclusion of a
      contract or lease on Schedule G does not constitute an admission as to the executory or
      unexpired nature (or non-executory or expired nature) of the contract or lease, or an
      admission as to the existence or validity of any claims held by any counterparty to such
      contract or lease. Furthermore, while the Debtors have made diligent attempts to properly
      identify all executory contracts and unexpired leases, inadvertent errors, omissions, or over
      inclusion may have occurred.

20.   Leases. The Debtors have not included the future obligations of any capital or operating
      leases in the Schedules and Statements. To the extent that there was an amount outstanding
      as of the Petition Date, the creditor has been included on Schedule E/F of the Schedules.

      In the ordinary course of business, certain of the Debtors may enter into agreements titled
      as leases for property, minerals, or other property interests and equipment from third-party
      lessors for use in the daily operation of their business. Any known pre-petition obligations
      of the Debtors’ pursuant to the same have been listed on Schedule F, the underlying lease
      agreements are listed on Schedule G, or, if the leases are in the nature of real property
      interests under applicable state laws, on Schedule A. Nothing in the Schedules or
      Statements is, or shall be construed to be, an admission as to the determination of the legal
      status of any lease (including whether any lease is a true lease, a financing arrangement or
      a real property interest), and the Debtors reserve all rights with respect to such issues.
      Moreover, the Debtors have omitted certain information relating to exploratory leases that
      are being held by a broker for the benefit of the Debtors.

21.   Insiders. The Debtors have attempted to include all payments made on or within
      12 months before the Petition Date to any individual or entity deemed an “insider.” As to

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      each Debtor, an individual or entity is designated as an “insider” for the purposes of the
      Schedules and Statements if such individual or entity, based on the totality of the
      circumstances, has at least a controlling interest in, or exercises sufficient authority over,
      the Debtor so as to unqualifiably dictate corporate policy and the disposition of corporate
      assets.

      The listing or omission of a party as an insider for purposes of the Schedules and Statements
      is for informational purposes and is not intended to be, nor should it be, construed as an
      admission that those parties are insiders for purpose of section 101(31) of the Bankruptcy
      Code. Information regarding the individuals or entities listed as insiders in the Schedules
      and Statements may not be used for: (a) the purposes of determining (i) control of the
      Debtors; (ii) the extent to which any individual or entity exercised management
      responsibilities or functions; (iii) corporate decision-making authority over the Debtors; or
      (iv) whether such individual or entity could successfully argue that it is not an insider under
      applicable law, including the Bankruptcy Code and federal securities laws, or with respect
      to any theories of liability or (b) any other purpose,

      Furthermore, certain of the individuals or entities identified as insiders may not have been
      insiders for the entirety of the 12-month period, but the Debtors have included them herein
      out of an abundance of caution. The Debtors reserve all rights with respect thereto.

22.   Totals. All totals that are included in the Schedules and Statements represent totals of all
      known amounts. To the extent there are unknown, disputed, contingent, unliquidated, or
      otherwise undetermined amounts, the actual total may be different than the listed total.

23.   Unliquidated Claim Amounts. Claim amounts that could not be quantified by the Debtors
      are scheduled as “unliquidated.”

24.   Undetermined Amounts. The description of an amount as “unknown,” “disputed,”
      “contingent,” “unliquidated,” or “undetermined” is not intended to reflect upon the
      materiality of such amount.

25.   Setoffs. The Debtors routinely incur setoffs and net payments in the ordinary course of
      business. Such setoffs and nettings may occur due to a variety of transactions or disputes
      including, but not limited to, intercompany transactions, counterparty settlements, pricing
      discrepancies, credits, rebates, returns, refunds, negotiations, and/or disputes between the
      Debtors and their customers and/or suppliers. These normal, ordinary course setoffs and
      nettings are common to the industry. Due to the voluminous nature of setoffs and nettings,
      it would be unduly burdensome and costly for the Debtors to list each such transaction.
      Therefore, although such setoffs and other similar rights may have been accounted for
      when scheduling certain amounts, these ordinary course setoffs are not independently
      accounted for, and as such, are or may be excluded from the Debtors’ Schedules and
      Statements. In addition, some amounts listed in the Schedules and Statements may have
      been affected by setoffs or nettings by third parties of which the Debtors are not yet aware
      and/or of which the Debtors have approved to effectuate in the claims process of their
      chapter 11 cases. The Debtors reserve all rights to challenge any setoff and/or recoupment
      rights that may be asserted.

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26.   Credits and Adjustments. The claims of individual creditors for, among other things,
      goods, products or services are listed as amounts entered on the Debtors’ books and records
      and may not reflect credits, allowances or other adjustments due from such creditors to the
      Debtors. The Debtors reserve all of their rights respecting such credits, allowances and
      other adjustments.

27.   Payments. Prior to the Petition Date, the Debtors maintained a cash management and
      disbursement system in the ordinary course of their businesses (the “Cash Management
      System”) (as more fully described in the Debtors’ Emergency Motion for Entry of Interim
      and Final Orders (I) Authorizing the Debtors to (A) Continue to Operate Their Cash
      Management System and Maintain Existing Bank Accounts and (B) Continue to Perform
      Intercompany Transactions, and (II) Granting Related Relief (the “Cash Management
      Motion”) [Docket No. 14]). Although efforts have been made to attribute open payable
      amounts to the correct legal entity, the Debtors reserve the right to amend, supplement or
      otherwise modify their Schedules and Statements to attribute any payments to a different
      legal entity, if appropriate.

28.   Guaranties and Other Secondary Liability Claims. The Debtors have used their best
      efforts to locate and identify guaranties and other secondary liability claims
      (collectively, the “Guaranties”) in their executory contracts, unexpired leases, debt
      instruments, and other such agreements; however, a review of these agreements,
      specifically the Debtors’ leases and contracts, is ongoing. Where such Guaranties have
      been identified, they have been included in the relevant Schedule for the Debtor or Debtors
      affected by such Guaranties. The Debtors have reflected the Guaranty obligations for both
      the primary obligor and the guarantor with respect to their financings and debt instruments
      on Schedule D, F, and H. The Debtors believe that certain Guaranties embedded in the
      Debtors’ executory contracts, unexpired leases, other secured financing, debt instruments,
      and similar agreements may exist and, to the extent they do, will be identified upon further
      review. Therefore, the Debtors reserve their rights to amend, supplement or otherwise
      modify the Schedules to the extent additional Guaranties are identified.

29.   Consolidated Identification of Interests. As set forth above, the Schedules and
      Statements, in various instances, call for information that, if provided, would disclose the
      identities and personal contact information of certain individuals. The Debtors elected to
      present such sensitive information as consolidated line items of similar interests. The
      Debtors believe that producing information in this manner is necessary to both maintain
      valuable customer and vendor relationships and to protect the Debtors’ propriety
      information.

30.   Mechanics, Materialman and Other Similar Statutory Liens. The Schedules and
      Statements include mechanics’, materialman’s or other similar statutory liens where the
      Debtors have received notices of such purported liens. The Debtors have not evaluated
      any of these notices and have not conducted any analysis with respect to such purported
      liens, including without limitation, the validity, perfection or immunity. Such liens may
      apply, and the Debtors reserve their right to dispute or challenge the validity, perfection or
      immunity from the avoidance of any lien purported to be perfected by a creditor.


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31.   Global Notes Control. In the event that the Schedules and Statements differ from the
      Global Notes, the Global Notes shall control.

                    Specific Disclosures with Respect to the Debtors’ Schedules

32.   Schedule A/B: Real property is reported at book value, net of accumulated depreciation
      on buildings and improvements. Amounts ultimately realized may vary from net book
      value and such variance may be material. The Debtors may have listed certain assets as
      real property when such assets are in fact personal property, or the Debtors may have listed
      certain assets as personal property when such assets are in fact real property. The Debtors
      reserve all of their rights to recategorize or recharacterize such asset holdings to the extent
      the Debtors determine that such holdings were listed incorrectly.

      Under applicable state law, oil and gas leasehold interests, mineral and royalty interests,
      interests acquired by statutory force pooling procedures, overriding royalty interests,
      non-executive mineral interests, non-participating royalty interests, rights of way, and
      easements may be interests in real property. The Debtors have included information about
      the instruments governing such interests on Schedule A, but have not duplicated such
      leases on Schedule G regardless of whether such instruments may be considered executory
      contracts within the meaning of section 365 of the Bankruptcy Code.

      Certain of the instruments reflected on Schedule A may contain renewal options,
      guarantees of payments, options to purchase, rights of first refusal, rights to lease additional
      lands, and other miscellaneous rights. Such rights, powers, duties, and obligations are not
      separately set forth on Schedule A. The Debtors hereby expressly reserve the right to assert
      that any instrument listed on Schedule A is an executory contract within the meaning of
      section 365 of the Bankruptcy Code. The Debtors reserve all of their rights, claims, and
      causes of action with respect to claims associated with any contracts and agreements listed
      on Schedule A or Schedule G, including their right to dispute or challenge the
      characterization or the structure of any transaction, document, or instrument (including any
      intercompany agreement) related to a creditors’ claim.

      The Debtors’ failure to list any rights in real property on Schedule A/B should not be
      construed as a waiver of any such rights that may exist, whether known or unknown at this
      time.

      Despite their reasonable efforts to identify all known assets, the Debtors may not have
      listed all of their Causes of Action or potential Causes of Action against third parties as
      assets in the Schedules and Statements. The Debtors reserve all of their rights with respect
      to any Causes of Action that they may have, and neither these Global Notes nor the
      Schedules and Statements shall be deemed a waiver of any such claims, causes of action,
      or avoidance actions or in any way prejudice or impair the assertion of such claims.

33.   Schedule A/B 3: Amounts listed are as of the Petition Date for the corresponding Debtor
      and reflect the bank balance, not the net book value.

34.   Schedule A/B 11: In the ordinary course of the Debtors’ businesses, cash settlements must
      occur after the completion of an accounting settlement cycle, which typically takes 60 days
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       following the end of a production month for revenue and 90-120 days following the end of
       a production month for joint interest billing. The timeframe to calculate a net proceed for
       a given production month requires the following steps: (1) invoicing of joint interest
       partners and purchasers, (2) payment of capital and operating expenses, (3) receipt of gross
       sales revenues, (4) receipt of joint interest billing payments, and (5) disbursement of
       payments to mineral and other interest owners. Accordingly, there is a significant amount
       of accounts receivable owed to the Debtors as of the Petition Date which will be recouped
       or reimbursed in the ordinary course of business.

35.    Schedule A/B 47: Certain of the Debtors list vehicles subject to operating leases. Any
       liabilities on account of such leases are listed on Schedule F and such operating leases are
       listed on Schedule G.

36.    Schedule A/B 61: The Debtors have not listed all the URL names but retain their ownership
       rights over these assets.

37.    Schedule A/B 72. The Debtors file their federal income taxes on a consolidated return
       basis. Federal net operating loss (“NOL”) carryforwards, general business credit
       carryforwards and other carryforwards are available to offset future taxable income or
       reduce future income tax liabilities of the consolidated group, of which Chesapeake Energy
       Corporation is the parent. Amounts listed for federal NOL carryforwards, general business
       credit carryforwards and other carryforwards are based on the Debtors’ reasonable
       estimates and may be subject to review by the Internal Review Service. State NOL
       carryforwards are listed on either a pre-apportioned or post-apportioned basis whichever is
       required to be reported by the particular state tax authority.

38.    Schedule A/B 77: Certain of the Debtors list an aggregate book value of oil and natural
       gas properties held by the applicable Debtor. Oil and gas properties are comprised of both
       proved and unproved properties. Due to the voluminous nature of the numerous assets
       associated with these properties, including, but not limited to, leases, materials, and
       equipment, the Debtors have not provided an enumerated list of the individual assets, other
       than leases, which are set forth in Schedule A/B 55.

39.    Schedule D: Except as otherwise agreed pursuant to a stipulation, or agreed order, or
       general order entered by the Bankruptcy Court that is or becomes final, the Debtors and
       their estates reserve their rights to dispute or challenge the validity, perfection, or immunity
       from avoidance of any lien purported to be granted or perfected in any specific asset to a
       creditor listed on Schedule D of any Debtor. Moreover, although the Debtors may have
       scheduled claims of various creditors as secured claims, the Debtors reserve all rights to
       dispute or challenge the secured nature of any such creditor’s claim or the characterization
       of the structure of any such transaction or any document or instrument related to such
       creditor’s claim. Further, while the Debtors have included the results of Uniform
       Commercial Code searches, the listing of such results is not nor shall it be deemed an
       admission as to the validity of any such lien. Conversely, the Debtors made reasonable,
       good faith efforts to include all liens on Schedule D, but may have inadvertently omitted
       to include an existing lien because of, among other things, the possibility that a lien may
       have been imposed after the Uniform Commercial Code searches were performed or a

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       vendor may not have filed the requisite perfection documentation. Moreover, the Debtors
       have not included on Schedule D parties that may believe their claims are secured through
       setoff rights or inchoate statutory lien rights.

       Although there are multiple parties that hold a portion of the debt included in the Debtors’
       prepetition secured credit facility and other funded secured indebtedness, only the
       administrative agents or indenture trustees have been listed for purposes of Schedule D.
       The amounts reflected outstanding under the Debtors’ prepetition funded indebtedness
       reflect approximate principal and accrued interest as of the Petition Date.

       Schedule D includes parties who have filed notices of liens. As discussed herein, the
       Debtors have not evaluated these notices and have not conducted any analysis with respect
       to these purported liens.

       In certain instances, a Debtor may be a co-obligor, co-mortgagor, or guarantor with respect
       to scheduled claims of another Debtor, and no claim set forth on Scheduled D of any Debtor
       is intended to acknowledge claims of creditors that are otherwise satisfied or discharged
       by other entities. The descriptions provided in Schedule D are intended only as a summary.
       Reference to the applicable loan agreements and related documents is necessary for a
       complete description of the collateral and the nature, extent, and priority of any liens.
       Nothing in the Global Notes or the Schedules and Statements shall be deemed a
       modification or interpretation of the terms of such agreements.

40.    Schedule E/F, Part 1: Creditors Holding Priority Unsecured Claims. The listing of any
       claim on Schedule E/F does not constitute an admission by the Debtors that such claim is
       entitled to priority treatment under section 507 of the Bankruptcy Code. The Debtors
       reserve all of their rights to dispute the amount and the priority status of any claim on any
       basis at any time. All claims listed on the Debtors’ Schedule E/F are claims arising from
       tax, wage or wage-related obligations to which the Debtors may potentially be liable.
       Certain of such claims, however, may be subject to ongoing audits and the Debtors are
       otherwise unable to determine with certainty the amount of many, if not all, of the
       remaining claims listed on Schedule E/F. Accordingly, the Debtors have listed all such
       claims as unknown in amount, pending final resolution of ongoing audits or other
       outstanding issues. Additionally, as more fully set forth in the Debtors’ Emergency Motion
       For Entry Of An Order (I) Authorizing The Debtors To (A) Pay Prepetition Wages,
       Salaries, Other Compensation, And Reimbursable Expenses And (B) Continue Employee
       Benefits Programs And (Ii) Granting Related Relief [Docket No. 10], claims against the
       Debtors on account of wage or wage-related obligations to independent contractors may
       maintain priority under section 507 of the Bankruptcy Code, but are subject to the priority
       cap imposed under subsections (a)(4) and (a)(5) of section 507 of the Bankruptcy Code.
       Further, to the extent such claims have been paid or may be paid pursuant to a court order,
       they may not be included on Schedule E.

41.    Schedule E/F, Part 2: Creditors Holding Non-Priority Unsecured Claims.

       The Debtors have used their reasonable best efforts to list all general unsecured claims
       against the Debtors on Schedule E/F based upon the Debtors’ existing books and records.

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 The Debtors have attempted to relate all liabilities to each particular Debtor. Certain
 creditors listed on Schedule E/F may owe amounts to the Debtors and, as such, the Debtors
 may have valid setoff or recoupment rights with respect to such amounts. The amounts
 listed on Schedule E/F do not reflect any such right of setoff or recoupment and the Debtors
 reserve all rights to assert any such setoff or recoupment rights. Additionally, certain
 creditors may assert mechanics’, materialman’s, or other similar liens against the Debtors
 for amounts listed on Schedule E/F. The Debtors reserve their right to dispute or challenge
 the validity, perfection, or immunity from avoidance of any lien purported to be perfected
 by a creditor listed on Schedule E/F of any Debtor.

 Schedule E/F does not include certain deferred credits, deferred charges, deferred
 liabilities, accruals, or general reserves. Such amounts are general estimates of liabilities
 and do not represent specific claims as of the Petition Date; however, such amounts are
 reflected on the Debtors’ books and records. Such accruals are general estimates of
 liabilities and do not represent specific claims as of the Petition Date.

 Schedule E/F does not include certain reserves for potential unliquidated contingencies that
 historically were carried on the Debtors’ books as of the Petition Date; such reserves were
 for potential liabilities only and do not represent actual liabilities as of the Petition Date.

 The claims listed in Schedule E/F arose or were incurred on various dates. In certain
 instances, the date on which a claim arose is an open issue of fact. Determining the date
 upon which each claim in Schedule E/F was incurred or arose would be unduly burdensome
 and cost prohibitive and, therefore, the Debtors do not list a date for each claim listed on
 Schedule E/F.

 Schedule E/F contains information regarding pending litigation involving the Debtors. In
 certain instances, the Debtor or related co-defendants that are the subject of the litigation
 may be unclear or undetermined. To the extent that litigation involving a particular Debtor
 or related co-defendant has been identified, such information is contained in the Schedule
 for that Debtor. Additionally, to the extent the identification of contingent co-defendants
 is unknown or unclear, the Debtors have listed only the underlying litigation. The amounts
 for these potential claims are listed as unknown and marked as contingent, unliquidated,
 and disputed in the Schedules.

 Schedule E/F reflects the prepetition amounts owing to counterparties to executory
 contracts and unexpired leases. Such prepetition amounts, however, may be paid in whole
 or in part in connection with the assumption, or assumption and assignment, of an
 executory contract or unexpired lease. In addition, Schedule E/F does not include rejection
 damage claims of the counterparties to the executory contracts and unexpired leases that
 have been or may be rejected, to the extent such damage claims exist.

 The Debtors have made reasonable efforts to locate and identify Guaranties in each of the
 executory contracts, unexpired leases, secured financings, debt instruments and other such
 agreements to which any Debtor is a party. Where Guaranties have been identified, they
 have been included in the relevant Schedules for the Debtor or Debtors affected by such
 Guaranties as a contingent and unliquidated obligation. The Debtors have placed the

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       Guaranties on Schedule H for both the primary obligor and the guarantor of the relevant
       obligation. Guaranties were additionally placed on Schedule D or F for each guarantor,
       except to the extent they are associated with obligations under an executory contract or
       unexpired lease identified on Schedule G. It is possible that certain Guaranties embedded
       in the Debtors’ executory contracts, unexpired leases, secured financings, debt instruments
       and other such agreements may have been inadvertently omitted. The Debtors reserve their
       rights to amend, supplement or otherwise modify the Schedules to the extent additional
       Guaranties are identified or such Guaranties are discovered to have expired or be
       unenforceable. In addition, the Debtors reserve the right to amend, supplement or
       otherwise modify the Schedules and SOFAs and to re-characterize or reclassify any such
       contract or claim, whether by amending the Schedules and SOFAs or in another appropriate
       filing. Additionally, failure to list any Guaranties in the Schedules and SOFAs, including
       in any future amendments to the Schedules and SOFAs, shall not affect the enforceability
       of any Guaranties not listed.

       In addition, certain claims listed on Schedule E/F may be entitled to priority under
       section 503(b)(9) of the Bankruptcy Code.

       Additionally, as discussed in the Debtors’ Emergency Motion For Entry Of An Order (I)
       Authorizing Payment Of (A) Obligations Owed To Holders Of Mineral And Other Interests
       And Non-Op Working Interests And (B) Joint Interest Billings, And (II) Granting Related
       Relief [Docket No. 16] (the “Mineral Interests Motion”), the Debtors maintain certain
       “suspended funds.” This amount includes approximately $150 million in “suspended
       funds” that are Royalties due and owing to certain holders of Mineral and Other Interests
       but are otherwise unpayable for a variety of reasons, including incorrect contact
       information, unmarketable title, and ongoing disputes over ownership of the underlying
       interest. Subject to applicable laws, when and to the extent the Debtors are provided
       evidence or sufficient notice that the issue preventing payment of the suspended funds to
       particular holders of Mineral and Other Interests is resolved, the Debtors may release the
       suspended funds in question. Accordingly, Schedule F does not list parties with potential
       interests in the suspended funds other than parties to litigation with respect to such
       suspended funds.

       The Debtors are obligated under various agreements to market the oil and gas production
       of certain owners of working interests to potential purchasers and remit the amounts due
       to the appropriate parties. Specifically, following the sale of production and the receipt of
       proceeds attributable thereto, the Debtors are obligated to remit the net amount of those
       proceeds belonging to the owner of the working interest, net of all applicable mineral
       interests, gathering costs, processing and transportation expenses, and production taxes, as
       applicable. Certain agreements require the Debtors to process and forward to the
       appropriate parties, from funds otherwise belonging to third parties, the amounts due on
       account of such interests and expenses. The foregoing amounts were authorized to be paid
       under applicable First Day Orders, may not be property of the Debtors’ estates, and are not
       included in Schedule E/F.

42.    Schedule G. While the Debtors’ existing books, records, and financial systems have been
       relied upon to identify and schedule executory contracts at each of the Debtors, and

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 although reasonable efforts have been made to ensure the accuracy of Schedule G,
 inadvertent errors, omissions, or inclusions may have occurred. The Debtors do not make,
 and specifically disclaim, any representation or warranty as to the completeness or
 accuracy of the information set forth on Schedule G. The Debtors hereby reserve all of
 their rights to dispute the validity, status, or enforceability of any contract, agreement, or
 lease set forth in Schedule G and to amend, supplement or otherwise modify Schedule G
 as necessary. The contracts, agreements, and leases listed on Schedule G may have expired
 or may have been modified, amended, or supplemented from time to time by various
 amendments, restatements, waivers, estoppel certificates, letters, memoranda, and other
 documents, instruments, and agreements that may not be listed therein despite the Debtors’
 use of reasonable efforts to identify such documents. Further, unless otherwise specified
 on Schedule G, each executory contract or unexpired lease listed thereon shall include all
 exhibits, schedules, riders, modifications, declarations, amendments, supplements,
 attachments, restatements, or other agreements made directly or indirectly by any
 agreement, instrument, or other document that in any manner affects such executory
 contract or unexpired lease, without respect to whether such agreement, instrument, or
 other document is listed thereon.

 In some cases, the same supplier or provider appears multiple times in Schedule G. This
 multiple listing is intended to reflect distinct agreements between the applicable Debtor
 and such supplier or provider.

 In the ordinary course of business, the Debtors may have issued numerous purchase orders
 for goods, supplies, product, services, and related items which, to the extent that such
 purchase orders constitute executory contracts, are not listed individually on Schedule G.
 To the extent that goods, supplies, or product were delivered or services performed under
 purchase orders before the Petition Date, vendors’ claims with respect to such delivered
 goods, supplies, or product and performed services are included on Schedule E/F. In the
 ordinary course of business, the Debtors may have issued numerous service orders or work
 orders pursuant to a master consulting agreement or master service agreement, which
 service orders or work orders are not listed individually on Schedule G. Each master
 consulting agreement or master service agreement listed on Schedule G shall include all
 service orders or work orders entered into pursuant to such master agreement unless
 otherwise noted.

 As a general matter, certain of the Debtors’ executory contracts and unexpired leases could
 be included in more than one category. In those instances, one category has been chosen
 to avoid duplication. Further, the designation of a category is not meant to be wholly
 inclusive or descriptive of the entirety of the rights or obligations represented by such
 contract.

 Certain of the executory contracts and unexpired leases listed on Schedule G may contain
 certain renewal options, guarantees of payment, options to purchase, rights of first refusal,
 right to lease additional space, and other miscellaneous rights. Such rights, powers, duties,
 and obligations are not set forth separately on Schedule G. In addition, the Debtors may
 have entered into various other types of agreements in the ordinary course of their business,
 such as easements, rights of way, subordination, nondisturbance, and atonement

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       agreements, supplemental agreements, amendments/letter agreements, title agreements,
       and division order agreements. Such documents also are not set forth in Schedule G.

       The Debtors hereby reserve all of their rights, claims, and causes of action with respect to
       the contracts and agreements listed on Schedule G, including the right to dispute or
       challenge the characterization or the structure of any transaction, document, or instrument
       related to a creditor’s claim, to dispute the validity, status, or enforceability of any contract,
       agreement, or lease set forth in Schedule G, and to amend, supplement or otherwise modify
       Schedule G as necessary. The inclusion of a contract or lease on Schedule G does not
       constitute an admission as to the executory or unexpired nature (or non-executory or
       expired nature) of the contract or lease, or an admission as to the existence or validity of
       any claims held by the counterparty to such contract or lease, and the Debtors reserve all
       rights in that regard, including, without limitation, that any agreement is not executory, has
       expired pursuant to its terms, or was terminated prepetition.

       Certain of the executory contracts and unexpired leases listed in Schedule G may have been
       assigned to, assumed by, or otherwise transferred to certain of the Debtors in connection
       with, among other things, acquisitions by the Debtors. The Debtors have attempted to list
       the appropriate Debtor parties to each contract, agreement, and lease on Schedule G;
       however, there may be instances in which other Debtor entities that are not parties to the
       contracts, agreements, and leases have been the primary entities conducting business in
       connection with these contracts, agreements, and leases. Accordingly, the Debtors have
       listed certain contracts, agreements, and leases on Schedule G of the Debtor entity
       corresponding to the applicable contracting entity which may, upon further review, differ
       from the primary entity conducting business with the counterparty to that particular
       contract, agreement, or lease. In instances where the Debtors were unable to determine
       which Debtor is the party to a contract, agreement, or lease, the Debtors have listed such
       contracts, agreements, or leases on Schedule G for Debtor Chesapeake Operating, L.L.C.
       or Chesapeake Energy Corporation depending on the type of agreement Moreover, in some
       instance the Debtors may not have be able to identify all Debtor entities associated with a
       particular agreement.

       In the ordinary course of business, the Debtors may have entered into confidentiality
       agreements which, to the extent that such confidentiality agreements constitute executory
       contracts, are not listed individually on Schedule G. In the ordinary course of business, the
       Debtors also enter into marketing agreements with working interest owners, which, to the
       extent that such marketing agreements constitute executory contracts, are not listed
       individually on Schedule G.

       In addition, Schedule G does not include rejection damage claims of the counterparties to
       the executory contracts and unexpired leases that have been or may be rejected, to the
       extent such damage claims exist.

43.    Schedule H. The Debtors have not listed any litigation-related co-Debtors on Schedule H.
       Instead, such listings can be found on the Debtors’ Schedules E/F.



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                  Specific Disclosures with Respect to the Debtors’ Statements

1.    Statement 1 and Statement 2. Revenue amounts listed for current fiscal year are through
      June 30, 2020

2.    Statement 3. Payments to the Debtors’ bankruptcy professionals for work related to the
      bankruptcy, debt consolidation or restructuring, payments to insiders, and payments on
      account of intercompany transactions are not included in the payments to creditors.
      Payments to the aforementioned parties are included in the following locations within the
      Statements: bankruptcy professionals (Statement 11), insiders (Statement 4), and
      intercompany transactions (Statement 4). The listing of any individual or entity as an
      insider does not constitute an admission or determination that any such individual is or is
      not an insider.

3.    Statement 4. Statement 4 accounts for a respective Debtor’s intercompany transactions, as
      well as other transfers to insiders, as applicable. As described in the Cash Management
      Motion, in the ordinary course of business certain of the Debtor and non-Debtor entities
      and business divisions maintain business relationships with each other, resulting in
      intercompany receivables and payables (the “Intercompany Claims”). Any payments to
      another Debtor on account of Intercompany Claims are reflective of the difference between
      the opening balance and ending balance between July 1, 2019 and June 30, 2020. With
      respect to the Intercompany Claims between Debtors, Statement 4 reflects the book value
      adjustment of such transfers rather than an actual transfer of funds from one Debtor entity
      to another.

      The insider disclosure includes personal use of the leased corporate plane based on the
      amount added to compensation for tax purposes. The Debtors have not listed the non-
      taxable business use portion of the leased corporate plane.

      The listing of any individual or entity as an insider does not constitute an admission or a
      final determination that any such individual is or is not an insider.



4.    Statement 7. The Debtors have not included workers’ compensation claims in response to
      this question because the Debtors maintain that this disclosure would be in violation of
      certain laws, including the Health Insurance Portability and Accountability Act of 1996
      (“HIPAA”).

5.    Statement 8. This response does not include single-purpose mineral receiverships created
      under Chapter 64 of the Texas Civil Practice & Remedies Code to facilitate development
      of a unit where a mineral owner(s) cannot be located.

6.    Statement 11. All payments for services of any entities that provided consultation
      concerning debt restructuring services, relief under the Bankruptcy Code, or preparation of
      a petition in bankruptcy within one year immediately preceding the Petition Date were
      made by Chesapeake Operating, L.L.C. and are, therefore, listed on Chesapeake Operating,
      L.L.C.’s Statements. The Debtors have endeavored to list only payments made for debt
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      restructuring services, however, these balances may include payments for services not
      related to restructuring or bankruptcy related matters. Additional information regarding
      the Debtors’ retention of professionals is more fully described in the individual retention
      applications for those professionals.

7.    Statement 13. The Debtors may, from time to time and in the ordinary course of business,
      transfer equipment and other assets and/or sell certain equipment and other assets to third
      parties. These types of ordinary course transfers have not been disclosed in Statement 13.
      Any values listed in the description of the property transferred are estimates and included
      for illustrative purposes only, as many transactions include adjustments to the purchase
      price post-closing. Further, the value of each transfer reflects an aggregate transaction
      value across all of the associated Debtor entities.

8.    Statement 21. In connection with their oil and gas assets, the Debtors are obligated,
      pursuant to their oil and gas leases and other agreements or regulatory orders, to remit to
      the lessors of the oil and gas leases and potentially other parties their share of revenue from
      the producing wells located on the respective leases pursuant to the terms of their oil and
      gas lease. In addition, payments on account of overriding royalties must be remitted to the
      owners of those interests, and the holders of non-executive mineral interests, as well as the
      holders of nonparticipating royalty interests, must receive the proceeds due to them
      pursuant to the applicable agreement. The foregoing amounts were authorized to be paid
      under applicable First Day Orders, may not be property of the Debtors’ estates, and are not
      included in Statement 21.

      The Debtors are obligated under various agreements to market the oil and gas production
      of certain owners of working interests to potential purchasers and remit the amounts due
      to the appropriate parties. Specifically, following the sale of production and the receipt of
      proceeds attributable thereto, the Debtors are obligated to remit the net amount of those
      proceeds belonging to the owner of the working interest, net of all applicable mineral
      interests, gathering costs, processing and transportation expenses, and production taxes, as
      applicable. Certain agreements require the Debtors to process and forward to the
      appropriate parties, from funds otherwise belonging to third parties, the amounts due on
      account of such interests and expenses. The foregoing amounts were authorized to be paid
      under applicable First Day Orders, may not be property of the Debtors’ estates, and are not
      included in Statement 21.

9.    Statements 22-24. The Debtors historically have operated over a substantial period of time
      and periodically have: (a) been party to judicial and administrative proceedings under
      environmental laws, (b) received notification from governmental units of potential liability
      under, or violations of, environmental laws, and (c) notified governmental units of releases
      of hazardous materials. The Debtors may no longer have active operations in a particular
      jurisdiction and may no longer have relevant records, or the records may no longer be
      complete or reasonably accessible or reviewable. In some cases, statutory document
      retention periods have passed. Further, some individuals who once possessed responsive
      information are no longer employed by the Debtors. For all these reasons, it may not be
      reasonably possible to identify and supply all of the requested information that is
      responsive to Statements 22-24. The Debtors have made commercially reasonable efforts

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       to provide responsive information for matters and issues that have arisen and/or that the
       Debtors consider to have been resolved. The Debtors acknowledge the possibility that
       information related to proceedings, governmental notices, and reported releases of
       hazardous materials responsive to Statements 22-24 may be discovered subsequent to the
       filing of the Schedules and Statements. The Debtors reserve the right to supplement or
       amend this response in the future if additional information becomes available.

       This response covers proceedings, governmental notices, and reported releases of
       hazardous materials related to the primary applicable environmental laws and does not
       include proceedings, governmental notices, or reported releases related to non-
       environmental laws, such as occupational safety and health laws or general transportation
       laws. This response is also limited to identifying circumstances in which governmental
       agencies have alleged in writing that particular operations of the Debtors are in violation
       of environmental laws and proceedings that have resulted from alleged violations of
       environmental laws. This response does not cover: (a) periodic information requests,
       investigations, or inspections from governmental units concerning compliance with
       environmental laws; or (b) routine reports and submissions concerning permitted
       discharges resulting from routine operations where such reports and submissions were
       made in compliance with regulatory requirements, such as monthly discharge monitoring
       reports, quarterly and annual air emissions reports, quarterly and annual groundwater
       monitoring reports, deviation/exceedance reports, and annual toxic release inventory
       reports. In addition, Statement 7 may identify information that is also responsive to
       Statement 22.

10.    Statement 26D. Pursuant to the requirements of the Securities Exchange Act of 1934, as
       amended, Chesapeake Energy Corporation, has filed with the U.S. Securities and Exchange
       Commission (the “SEC”) reports on Form 8-K, Form 10-Q, and Form 10-K. These SEC
       filings contain consolidated financial information relating to the Debtors. Additionally,
       consolidated financial information for the Debtors is posted on the company’s website at
       http://investors.chk.com. Because the SEC filings and the website are of public record, the
       Debtors do not maintain records of the parties that requested or obtained copies of any of
       the SEC filings from the SEC or the Debtors. In addition, in the ordinary course of
       business, the Debtors provide financial statements that may not be part of a public filing to
       certain parties, such as financial institutions, investment banks, debtholders, auditors,
       potential investors, vendors, and financial advisors. The Debtors do not maintain complete
       lists to track such disclosures. As such, the Debtors have not provided lists of these parties
       in response to this question.

11.    Statement 27. The Debtors have omitted the intermittent cycle counts conducted by
       Burleson Sand LLC, which are conducted every few weeks on particular materials.

12.    Statement 28. The Debtors have listed those entities holding 5% shares of stock in
       Chesapeake Energy Corporation as of June 30, 2020.




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Northern Michigan Exploration Company, L.L.C.

                     Southern                        Texas

           20-33271 (DRJ)




                                                                                  120.00
                                                                   + undetermined amounts



                                                                                     0.00
                                                                   + undetermined amounts



                                                                                  120.00
                                                                   + undetermined amounts




                                                                       5,759,133,189.56
                                                                   + undetermined amounts




                                   5a                                                0.00



                                                                       3,597,355,122.67
                                                5b                 + undetermined amounts




                                                                       9,356,488,312.23
                                                                   + undetermined amounts
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    Northern Michigan Exploration Company, L.L.C.

                          Southern                  Texas

               20-33271 (DRJ)




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    Northern Michigan Exploration Company, L.L.C.       20-33271 (DRJ)




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    Northern Michigan Exploration Company, L.L.C.        20-33271 (DRJ)




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    Northern Michigan Exploration Company, L.L.C.        20-33271 (DRJ)




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    Northern Michigan Exploration Company, L.L.C.         20-33271 (DRJ)




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        Northern Michigan Exploration Company, L.L.C.            20-33271 (DRJ)




X




    See Attached Rider                                  120.00                                  120.00
                                                                                  + undetermined amounts




                                                                                                120.00
                                                                                  + undetermined amounts




X




X




X




                                                                                                   0.00
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         Northern Michigan Exploration Company, L.L.C.          20-33271 (DRJ)




X




None                                                                                              0.00




None
                                                                                                  0.00




See Attached Rider                                                                                0.00
                                                                                 + undetermined amounts




None                                                                                              0.00




None                                                                                              0.00




None                                                                                              0.00




None                                                                                              0.00




                                                                                                  0.00
                                                                                 + undetermined amounts



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Northern Michigan Exploration Company, L.L.C.                                     20-33271 (DRJ)




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                                                                            + undetermined amounts

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                                                   + undetermined amounts

                                                                  0.00                      120.00
                                                + undetermined amounts      + undetermined amounts




                                                                                                                   120.00
                                                                                                     + undetermined amounts
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Debtor Name:          Northern Michigan Exploration Company,                                            Case Number:            20-33271 (DRJ)
                      L.L.C.

                                                       Assets - Real and Personal Property

         Part 9, Question 55: Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest



Description and location of        Nature and extent of             Net book value of          Valuation method used       Current value of
property                           debtor's interest                debtor's interest          for current value           debtor's interest
Proved Acquisition Costs                                                             $120.00 Net Book Value                                    $120.00

Grantor: SLIGHLY, BRIAN C. AS      Oil and Gas Lease                           Undetermined Net Book Value                              Undetermined
TRUSTEE OF THE BRIAN G.
SLIGHLY TRUST,
County: ANTRIM State: MI
Lease Number: MI0013213-011
Book: 762
Page: 1150
Entry: 200700000824
Execution Date: 11/27/2006
Grantor: LICK, OLGA, A SINGLE      Oil and Gas Lease                           Undetermined Net Book Value                              Undetermined
WOMAN ACTING IN HER OWN
RIGHT
County: CHARLEVOIX State: MI
Lease Number: MI0015261-002
Book: 866
Page: 696
Execution Date: 08/19/2008
Grantor: ST/MI - DNR N-18275  Oil and Gas Lease                                Undetermined Net Book Value                              Undetermined
County: GRAND TRAVERSE State:
MI
Lease Number: MI0015418-000
Book: 598
Page: 254
Execution Date: 02/10/1984
Grantor: HALFACER SR., PAUL E. Oil and Gas Lease                               Undetermined Net Book Value                              Undetermined
AND ESTHER HALFACER,
HUSBAND AND WIFE
County: OSCODA State: MI
Lease Number: MI0015947-001
Book: 208
Page: 460
Execution Date: 02/06/2008
Grantor: HICKS, RAYMOND L. & Oil and Gas Lease                                 Undetermined Net Book Value                              Undetermined
NANCY A. HICKS, H/W
County: GRAND TRAVERSE State:
MI
Lease Number: MI0016175-001
Entry: 2009R-01400
Execution Date: 11/01/2008
Grantor: SEBOLD, GEORGETTE         Oil and Gas Lease                           Undetermined Net Book Value                              Undetermined
REVOCABLE TRUST DATED
SEPTEMBER 30, 1998,
County: ANTRIM State: MI
Lease Number: MI0016191-001
Book: 704
Page: 737
Execution Date: 11/07/2003




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Debtor Name:          Northern Michigan Exploration Company,                                            Case Number:            20-33271 (DRJ)
                      L.L.C.

                                                       Assets - Real and Personal Property

         Part 9, Question 55: Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest



Description and location of        Nature and extent of             Net book value of          Valuation method used       Current value of
property                           debtor's interest                debtor's interest          for current value           debtor's interest
Grantor: LAWRENCE, GARY D. & Oil and Gas Lease                                 Undetermined Net Book Value                              Undetermined
BARBARA L. LAWRENCE,
HUSBAND AND WIFE
County: MONTMORENCY State:
MI
Lease Number: MI0017072-000
Book: 490
Page: 14
Entry: 200700029730
Execution Date: 03/03/2007
Grantor: WILLIAMS, MARGARET        Oil and Gas Lease                           Undetermined Net Book Value                              Undetermined
L., A WIDOW
County: MONTMORENCY State:
MI
Lease Number: MI0017132-000
Book: 494
Page: 816
Entry: 200700032888
Execution Date: 10/04/2007
Grantor: YOUKER, DAVID W. &   Oil and Gas Lease                                Undetermined Net Book Value                              Undetermined
DOROTHY M. YOUKER,
HUSBAND AND WIFE, HAR
County: GRAND TRAVERSE State:
MI
Lease Number: MI0017385-000
Book: 556
Page: 412
Execution Date: 10/05/1982
Grantor: DICELLO, MAGDALEN R., Oil and Gas Lease                               Undetermined Net Book Value                              Undetermined
A SINGLE WOMAN ACTING IN
HER OWN RIGHT
County: MONTMORENCY State:
MI
Lease Number: MI0017729-000
Book: 495
Page: 836
Entry: 200700033509
Execution Date: 11/26/2007
Grantor: WARD HEIRS MINERAL        Oil and Gas Lease                           Undetermined Net Book Value                              Undetermined
INTEREST, PAUL R. EVANCHO,
AS AGENT
County: ANTRIM State: MI
Lease Number: MI0018186-000
Book: 804
Page: 141
Entry: 201000004502
Execution Date: 05/13/2010
Grantor: HARRISON PIPING    Oil and Gas Lease                                  Undetermined Net Book Value                              Undetermined
SUPPLY COMPANY, A MICHIGAN
CORPORATION
County: OTSEGO State: MI
Lease Number: MI0018360-000
Book: 603
Page: 375
Execution Date: 12/21/1994




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Debtor Name:          Northern Michigan Exploration Company,                                            Case Number:            20-33271 (DRJ)
                      L.L.C.

                                                       Assets - Real and Personal Property

         Part 9, Question 55: Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest



Description and location of        Nature and extent of             Net book value of          Valuation method used       Current value of
property                           debtor's interest                debtor's interest          for current value           debtor's interest
Grantor: GAVIGAN, BURKHART,        Oil and Gas Lease                           Undetermined Net Book Value                              Undetermined
FREEMAN & CO., P.L.L.C., A
MICHIGAN PROFE
County: OTSEGO State: MI
Lease Number: MI0018442-000
Book: 578
Page: 70
Execution Date: 01/24/1995
Grantor: LAMPERT, SCOTT D.         Oil and Gas Lease                           Undetermined Net Book Value                              Undetermined
TRUST, THE, UNDER TRUST
DATED MARY 19, 200
County: OTSEGO State: MI
Lease Number: MI0018687-000
Book: 782
Page: 853
Execution Date: 12/20/2000
Grantor: MELLING RESORTS           Oil and Gas Lease                           Undetermined Net Book Value                              Undetermined
INTERNATIONAL, INC., A
MICHIIGAN CORPORATION
County: OTSEGO State: MI
Lease Number: MI0018692-001
Book: 483
Page: 535
Execution Date: 05/24/1991
Grantor: CALVERT, FLOYD A.         Oil and Gas Lease                           Undetermined Net Book Value                              Undetermined
FAMILY TRUST, SECOND
NATIONAL BANK OF
County: OSCEOLA State: MI
Lease Number: MI0019279-005
Book: 519
Page: 81
Execution Date: 06/23/1989
Grantor: NICHOLL, KENNETH E.       Oil and Gas Lease                           Undetermined Net Book Value                              Undetermined
LIVING TRUST DATED JUNE 10,
1993
County: ANTRIM State: MI
Lease Number: MI0019315-000
Book: 769
Page: 430
Entry: 200700006713
Execution Date: 06/18/2007
Grantor: PETERS, RANDALL H.        Oil and Gas Lease                           Undetermined Net Book Value                              Undetermined
AND JULIE
County: ANTRIM State: MI
Lease Number: MI0019340-000
Book: 799
Page: 1805
Entry: 200900010299
Execution Date: 10/13/2009




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Debtor Name:          Northern Michigan Exploration Company,                                            Case Number:            20-33271 (DRJ)
                      L.L.C.

                                                       Assets - Real and Personal Property

         Part 9, Question 55: Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest



Description and location of        Nature and extent of             Net book value of          Valuation method used       Current value of
property                           debtor's interest                debtor's interest          for current value           debtor's interest
Grantor: VANBERGEN-                Oil and Gas Lease                           Undetermined Net Book Value                              Undetermined
RYLANDER, CAROLYN , A
MARRIED WOMAN, JOINED BY
BIL
County: ANTRIM State: MI
Lease Number: MI4800052-000
Book: 800
Page: 1491
Entry: 201000000335
Execution Date: 12/05/2009
                                                                                                                  TOTAL                    $120.00
                                                                                                                           + undetermined amounts




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Debtor Name: Northern Michigan Exploration Company, L.L.C.                                            Case Number: 20-33271 (DRJ)

                                                    Assets - Real and Personal Property

                                      Part 11, Question 73: Interests in insurance policies or annuities



                                                                                                                 Current value of debtor's
Description                                  Policy type                           Policy number
                                                                                                                 interest
Affiliated FM                               Property Liability                     IB074                                         Undetermined

AIG                                         Directors & Officers Liability         39861369                                      Undetermined

AIG (Bermuda)                               Directors & Officers Liability         17206079                                      Undetermined

AIG (Bermuda)                               Directors & Officers Liability         17206080                                      Undetermined

Allianz                                     Directors & Officers Liability         USF00002620                                   Undetermined

Allianz                                     Directors & Officers Liability         USF00002720                                   Undetermined

Allianz Global Risks US Insurance Company   Fiduciary Liability (1st Excess Policy) USF00044520                                  Undetermined

ANV                                         Directors & Officers Liability         ANV136206A                                    Undetermined

Arch                                        Directors & Officers Liability         ABX100002001                                  Undetermined

Argo                                        Directors & Officers Liability         MLX-7601798-4                                 Undetermined

Argonaut                                    Directors & Officers Liability         MLX42447220                                   Undetermined

Asco                                        Directors & Officers Liability         MLXS201000000201                              Undetermined

AXIS                                        Directors & Officers Liability         P0010000028523001                             Undetermined

Beazley                                     Directors & Officers Liability         V135DE200801                                  Undetermined

Beazley                                     Employment Practices Liability         V23A06180201                                  Undetermined

Berkshire Hathaway                          Directors & Officers Liability         47-EPC-307083-02                              Undetermined

Berkshire Hathaway                          Directors & Officers Liability         47-EPC-150135-07                              Undetermined

Chubb (Bermuda)                             Directors & Officers Liability         13143007-A                                    Undetermined

Continental Casualty (CNA)                  Directors & Officers Liability         596868661                                     Undetermined

Energy Insurance Mutual Limited             Umbrella Excess Liability              254366-19GL                                   Undetermined

Energy Insurance Mutual Limited             Umbrella Excess Liability              TBD                                           Undetermined

Euclid                                      Directors & Officers Liability         EUW1522527 02                                 Undetermined

Everest                                     Directors & Officers Liability         SC8EX00013-201                                Undetermined

Everest                                     Directors & Officers Liability         SC8EX00112-201                                Undetermined

Great American Insurance                    Crime                                  273611294                                     Undetermined
Company
Hanover Insurance Company                   Property Liability (Commercial Inland IHD D616673 02                                 Undetermined
                                            Marine)
Hartford                                    Directors & Officers Liability         83DA034707620                                 Undetermined

Hartford                                    Fiduciary Liability (4th Excess        83IA03483520                                  Undetermined
                                            Policy)
Hiscox                                      Directors & Officers Liability         B0509FINMW2000062                             Undetermined

Ironshore Insurance Services LLC            Umbrella Excess Liability              538909                                        Undetermined



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Debtor Name: Northern Michigan Exploration Company, L.L.C.                                              Case Number: 20-33271 (DRJ)

                                                     Assets - Real and Personal Property

                                        Part 11, Question 73: Interests in insurance policies or annuities



                                                                                                                   Current value of debtor's
Description                                   Policy type                            Policy number
                                                                                                                   interest
Ironshore Insurance Services LLC              Umbrella Excess Liability              TBD                                           Undetermined

Ironshore Specialty Insurance Company         Pollution Liability (Excess Policy)    540509                                        Undetermined

Ironshore Specialty Insurance Company         Pollution Liability (Excess Policy)    TBD                                           Undetermined

Lloyd’s of London                             Control of Well Liability              B1263EG0048419                                Undetermined

Lloyd’s of London                             Control of Well Liability              B0702GU3166600                                Undetermined

Lloyds                                        Directors & Officers Liability         B0509FINM2000080                              Undetermined

Markel Lloyds Syndicate # 3000 and various    Umbrella Excess Liability              B1263EG0329819                                Undetermined
other Lloyds syndicates
Markel Lloyds Syndicate # 3000 and various    Umbrella Excess Liability              B0702GL3111400                                Undetermined
other Lloyds syndicates
Munich Re                                     Directors & Officers Liability         B0509FINMW2000060                             Undetermined

National Union Fire Insurance Company of      Directors & Officers Liability         03-986-07-64                                  Undetermined
Pittsburg, Pa.
National Union Fire Insurance Company of      Fiduciary Liability                    39879741                                      Undetermined
Pittsburg, Pa.
Old Republic                                  Directors & Officers Liability         ORPRO43927                                    Undetermined

Old Republic                                  Directors & Officers Liability         ORPRO43939                                    Undetermined

QBE                                           Directors & Officers Liability         100005557                                     Undetermined

QBE Insurance Corporation                     Fiduciary Liability (3rd Excess        100006178                                     Undetermined
                                              Policy)
RSUI                                          Directors & Officers Liability         NHS685613                                     Undetermined

Sompo                                         Directors & Officers Liability         DOX10008516904                                Undetermined

Starr Indemnity & Liability                   Lead Umbrella Excess Liability         1000095339191                                 Undetermined

Starr Indemnity & Liability                   Lead Umbrella Excess Liability         TBD                                           Undetermined

Starr Indemnity & Liability Company           Automobile Liability                   1000198809191                                 Undetermined

Starr Indemnity & Liability Company           Automobile Liability                   TBD                                           Undetermined

Starr Indemnity & Liability Company           Non-Owned Aviation Liability           1000237637-02                                 Undetermined

Starr Indemnity & Liability Company           Non-Owned Aviation Liability           TBD                                           Undetermined

Starr Indemnity & Liability Company           Commercial General Liability           1000090505191                                 Undetermined

Starr Indemnity & Liability Company           Commercial General Liability           TBD                                           Undetermined

Starr Indemnity & Liability Company           Workers’ Compensation Liability        100 0003275                                   Undetermined

Starr Indemnity & Liability Company           Workers’ Compensation Liability        TBD                                           Undetermined

Starr Tech                                    Property Liability (Burleson Sand      EPR N 43 37 61 1                              Undetermined
                                              leased equipment)
Steadfast Insurance Company                   Pollution Liability                    EPC 0198243-03                                Undetermined




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Debtor Name: Northern Michigan Exploration Company, L.L.C.                                             Case Number: 20-33271 (DRJ)

                                                     Assets - Real and Personal Property

                                       Part 11, Question 73: Interests in insurance policies or annuities



                                                                                                                    Current value of debtor's
Description                                  Policy type                            Policy number
                                                                                                                    interest
Steadfast Insurance Company                  Pollution Liability                    TBD                                             Undetermined

Syndicate ASC 1414 at Lloyd's                Umbrella Excess Liability              EL19MM043N2X                                    Undetermined

Syndicate ASC 1414 at Lloyd's                Umbrella Excess Liability              EL20MM043Q3X                                    Undetermined

United States Fire Insurance Company         Special Events Liability               SRPGAPML-101-0719                               Undetermined

Various Lloyd’s of London Syndicates         Umbrella Excess Liability              B1263EG0329919                                  Undetermined

Various Lloyd’s of London Syndicates         Umbrella Excess Liability              B0702GL3111500                                  Undetermined

Westchester Fire Insurance Company           Umbrella Excess Liability              G27616100 005                                   Undetermined

Westchester Fire Insurance Company           Umbrella Excess Liability              TBD                                             Undetermined

XL                                           Directors & Officers Liability         ELU16604620                                     Undetermined

XL                                           Crime                                  ELU166265-20                                    Undetermined

XL Specialty Insurance Company               Fiduciary Liability (2nd Excess        ELU16626320                                     Undetermined
                                             Policy)
                                                                                                            TOTAL                         $0.00
                                                                                                                         + undetermined amounts




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         Northern Michigan Exploration Company, L.L.C.
                                 Southern                            Texas

                     20-33271 (DRJ)




 X




Deutsche Bank Trust Company Americas
                                                                                                             2,330,156,000.00       Undetermined

                                                 Describe the lien
ATTN: CORPORATE TEAM, CHESAPEAKE                 Guarantor on 11.5% Senior Secured Second Lien Notes due
ENERGY CORP. SF0873                              2025
TRUST AND AGENCY SERVICES
60 WALL STREET, 24TH FLOOR
MAIL STOP: NYC60-2407
NEW YORK, NY 10005
                                                  X

                        12/19/2019
                                                  X



X                                                 X
                                                  X




DEUTSCHE BANK TRUST COMPANY                      As provided in the UCC Financing Statement
                                                                                                                 Undetermined       Undetermined
AMERICAS
                                                 Describe the lien
AS COLLATERAL TTEE                               UCC - Lien Claim - As provided in UCC File Number
60 WALL ST, 24TH FL, MS NYC60-2407               20191223000136-2 dated 12/23/2019
NEW YORK, NY 10005


                                                  X

                        Undetermined
                                                  X




 X                                                X
                                                  X
                                                  X


     See Schedule D Disclosures




                                                                                                               5,759,133,189.56
                                                                                                           + undetermined amounts


                                                                                                                                         14
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Debtor           Northern Michigan Exploration Company, L.L.C.                                              Case number (if known) 20-33271 (DRJ)
                Name




            Additional Page                                                                                                   Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.

2.3   Creditor's name                                        Describe debtor's property that is subject to a lien                $1,500,000,000.00         $ Undetermined
      GLAS USA LLC

      Creditor's mailing address                             Describe the lien
      3 SECOND STREET, SUITE 206                             Guarantor on Term Loan due 2024
      JERSEY CITY, NJ 07311




      Creditor's email address, if known                     Is the creditor an insider or related party?
                                                              X No
                                                                Yes
      Date debt was incurred 12/19/2019
      Last 4 digits of account
      number                                                 Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the          As of the petition date, the claim is:
      same property?                                         Check all that apply.
         X No                                                 X Contingent
          Yes. Have you already specified the                 X Unliquidated
               relative priority?                               Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.4   Creditor's name                                        Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
      MUFG UNION BANK NA                                     As provided in the UCC Financing Statement

      Creditor's mailing address                             Describe the lien
      AS COLLATERAL TTEE                                     UCC - Lien Claim - As provided in UCC File Number
      1100 LOUISIANA ST, STE 4850                            20191220000687-4 dated 12/20/2019
      HOUSTON, TX 77002-5216




      Creditor's email address, if known                     Is the creditor an insider or related party?
                                                              X No
                                                                Yes
      Date debt was incurred Undetermined
      Last 4 digits of account
      number                                                 Is anyone else liable on this claim?

                                                              X No
                                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the          As of the petition date, the claim is:
      same property?                                         Check all that apply.
         X No                                                 X Contingent
          Yes. Have you already specified the                 X Unliquidated
               relative priority?                             X Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.
                 See Schedule D Disclosures



                Yes. The relative priority of creditors is
                   specified on lines



Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 2 of 14
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Debtor           Northern Michigan Exploration Company, L.L.C.                                              Case number (if known) 20-33271 (DRJ)
                Name




            Additional Page                                                                                                    Column A                 Column B
Part 1:                                                                                                                        Amount of claim          Value of collateral
                                                                                                                               Do not deduct the        that supports this
                                                                                                                               value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.5   Creditor's name                                        Describe debtor's property that is subject to a lien                    $ Undetermined         $ Undetermined
      MUFG Union Bank NA

      Creditor's mailing address                             Describe the lien
      ATTN: STEPHEN WARFEL                                   Guarantor on Letter of Credit Number 609837026, for the Benefit
      1100 LOUISIANA STREET, SUITE 4850                      of BP Energy Company
      HOUSTON, TX 77002-5216




      Creditor's email address, if known                     Is the creditor an insider or related party?
                                                              X No
                                                                Yes
      Date debt was incurred Undetermined
      Last 4 digits of account
      number                                                 Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the          As of the petition date, the claim is:
      same property?                                         Check all that apply.
         X No                                                 X Contingent
          Yes. Have you already specified the                 X Unliquidated
               relative priority?                               Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.6   Creditor's name                                        Describe debtor's property that is subject to a lien                    $ Undetermined         $ Undetermined
      MUFG Union Bank NA

      Creditor's mailing address                             Describe the lien
      ATTN: STEPHEN WARFEL                                   Guarantor on Letter of Credit Number 613337002, for the Benfit
      1100 LOUISIANA STREET, SUITE 4850                      of Tennessee Gas Pipeline Co
      HOUSTON, TX 77002-5216




      Creditor's email address, if known                     Is the creditor an insider or related party?
                                                              X No
                                                                Yes
      Date debt was incurred Undetermined
      Last 4 digits of account
      number                                                 Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the          As of the petition date, the claim is:
      same property?                                         Check all that apply.
         X No                                                 X Contingent
          Yes. Have you already specified the                 X Unliquidated
               relative priority?                               Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         Page 3 of 14
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Debtor           Northern Michigan Exploration Company, L.L.C.                                              Case number (if known) 20-33271 (DRJ)
                Name




            Additional Page                                                                                                   Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.7   Creditor's name                                        Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
      MUFG Union Bank NA

      Creditor's mailing address                             Describe the lien
      ATTN: STEPHEN WARFEL                                   Guarantor on Letter of Credit Number 933338072, In the Amount
      1100 LOUISIANA STREET, SUITE 4850                      of $21,000,000.00 for the Benefit of Jackalope Gas Gathering
      HOUSTON, TX 77002-5216




      Creditor's email address, if known                     Is the creditor an insider or related party?
                                                              X No
                                                                Yes
      Date debt was incurred Undetermined
      Last 4 digits of account
      number                                                 Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the          As of the petition date, the claim is:
      same property?                                         Check all that apply.
         X No                                                 X Contingent
          Yes. Have you already specified the                 X Unliquidated
               relative priority?                               Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.8   Creditor's name                                        Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
      MUFG Union Bank NA

      Creditor's mailing address                             Describe the lien
      ATTN: STEPHEN WARFEL                                   Guarantor on Letter of Credit Number 934038074, In the Amount
      1100 LOUISIANA STREET, SUITE 4850                      of $10,600,000.00 for the Benefit of Stagecoach Pipeline
      HOUSTON, TX 77002-5216




      Creditor's email address, if known                     Is the creditor an insider or related party?
                                                              X No
                                                                Yes
      Date debt was incurred Undetermined
      Last 4 digits of account
      number                                                 Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the          As of the petition date, the claim is:
      same property?                                         Check all that apply.
         X No                                                 X Contingent
          Yes. Have you already specified the                 X Unliquidated
               relative priority?                               Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 4 of 14
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Debtor           Northern Michigan Exploration Company, L.L.C.                                              Case number (if known) 20-33271 (DRJ)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.9    Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       MUFG Union Bank NA

       Creditor's mailing address                            Describe the lien
       ATTN: STEPHEN WARFEL                                  Guarantor on Letter of Credit Number 934638040, In the Amount
       1100 LOUISIANA STREET, SUITE 4850                     of $200,000.00 for the Benefit of Enable Midstream Partners
       HOUSTON, TX 77002-5216




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.10   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       MUFG Union Bank NA

       Creditor's mailing address                            Describe the lien
       ATTN: STEPHEN WARFEL                                  Guarantor on Letter of Credit Number 3638035, In the Amount of
       1100 LOUISIANA STREET, SUITE 4850                     $475,000.00 for the Benefit of Midcontinent Exp Pipeline
       HOUSTON, TX 77002-5216




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 5 of 14
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Debtor           Northern Michigan Exploration Company, L.L.C.                                              Case number (if known) 20-33271 (DRJ)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.11   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       MUFG Union Bank NA

       Creditor's mailing address                            Describe the lien
       ATTN: STEPHEN WARFEL                                  Guarantor on Letter of Credit Number 6638086, In the Amount of
       1100 LOUISIANA STREET, SUITE 4850                     $900,000.00 for the Benefit of Anr Pipeline Company
       HOUSTON, TX 77002-5216




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.12   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       MUFG Union Bank NA

       Creditor's mailing address                            Describe the lien
       ATTN: STEPHEN WARFEL                                  Guarantor on Letter of Credit Number 6638058, In the Amount of
       1100 LOUISIANA STREET, SUITE 4850                     $582,656.00 for the Benefit of Karnes Electric Coop
       HOUSTON, TX 77002-5216




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 6 of 14
                   Case 20-33233 Document 901 Filed in TXSB on 08/21/20 Page 42 of 102

Debtor           Northern Michigan Exploration Company, L.L.C.                                              Case number (if known) 20-33271 (DRJ)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.13   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       MUFG Union Bank NA

       Creditor's mailing address                            Describe the lien
       ATTN: STEPHEN WARFEL                                  Guarantor on Letter of Credit Number 6638023, In the Amount of
       1100 LOUISIANA STREET, SUITE 4850                     $160,000.00 for the Benefit of Bluebonnet Electric Coop
       HOUSTON, TX 77002-5216




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.14   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       MUFG Union Bank NA

       Creditor's mailing address                            Describe the lien
       ATTN: STEPHEN WARFEL                                  Guarantor on Letter of Credit Number 7738012, In the Amount of
       1100 LOUISIANA STREET, SUITE 4850                     $1,400,000.00 for the Benefit of Medina Electric
       HOUSTON, TX 77002-5216




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 7 of 14
                   Case 20-33233 Document 901 Filed in TXSB on 08/21/20 Page 43 of 102

Debtor           Northern Michigan Exploration Company, L.L.C.                                              Case number (if known) 20-33271 (DRJ)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.15   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       MUFG Union Bank NA

       Creditor's mailing address                            Describe the lien
       ATTN: STEPHEN WARFEL                                  Guarantor on Letter of Credit Number 8538172, In the Amount of
       1100 LOUISIANA STREET, SUITE 4850                     $375,000.00 for the Benefit of Argonaut Insurance Co
       HOUSTON, TX 77002-5216




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.16   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       MUFG Union Bank NA

       Creditor's mailing address                            Describe the lien
       ATTN: STEPHEN WARFEL                                  Guarantor on Letter of Credit Number 9438032, In the Amount of
       1100 LOUISIANA STREET, SUITE 4850                     $2,000,000.00 for the Benefit of NY Dept Of Energy Conser
       HOUSTON, TX 77002-5216




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 8 of 14
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Debtor           Northern Michigan Exploration Company, L.L.C.                                              Case number (if known) 20-33271 (DRJ)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.17   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       MUFG Union Bank NA

       Creditor's mailing address                            Describe the lien
       ATTN: STEPHEN WARFEL                                  Guarantor on Letter of Credit Number 9938064, In the Amount of
       1100 LOUISIANA STREET, SUITE 4850                     $500,000.00 for the Benefit of Wex Bank
       HOUSTON, TX 77002-5216




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.18   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       MUFG Union Bank NA

       Creditor's mailing address                            Describe the lien
       ATTN: STEPHEN WARFEL                                  Guarantor on Letter of Credit Number TFTS-774772, In the
       1100 LOUISIANA STREET, SUITE 4850                     Amount of $10,000,000.00 for the Benefit of EXCO Operating
       HOUSTON, TX 77002-5216                                Company LP




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 9 of 14
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Debtor           Northern Michigan Exploration Company, L.L.C.                                              Case number (if known) 20-33271 (DRJ)
                Name




             Additional Page                                                                                                    Column A                 Column B
Part 1:                                                                                                                         Amount of claim          Value of collateral
                                                                                                                                Do not deduct the        that supports this
                                                                                                                                value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.19   Creditor's name                                       Describe debtor's property that is subject to a lien                     $ Undetermined         $ Undetermined
       MUFG Union Bank NA

       Creditor's mailing address                            Describe the lien
       ATTN: STEPHEN WARFEL                                  Guarantor on Letter of Credit Number NUSCGS033355, In the
       1100 LOUISIANA STREET, SUITE 4850                     Amount of $7,400,000.00 for the Benefit of Shell Trading (US) Co
       HOUSTON, TX 77002-5216




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.20   Creditor's name                                       Describe debtor's property that is subject to a lien                     $ Undetermined         $ Undetermined
       MUFG Union Bank NA

       Creditor's mailing address                            Describe the lien
       ATTN: STEPHEN WARFEL                                  Guarantor on Letter of Credit Number S234957, In the Amount of
       1100 LOUISIANA STREET, SUITE 4850                     $5,500,000.00 for the Benefit of Liberty Mutual Insurance
       HOUSTON, TX 77002-5216




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          Page 10 of 14
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Debtor           Northern Michigan Exploration Company, L.L.C.                                              Case number (if known) 20-33271 (DRJ)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.21   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       MUFG Union Bank NA

       Creditor's mailing address                            Describe the lien
       ATTN: STEPHEN WARFEL                                  Guarantor on Letter of Credit Number S237093, In the Amount of
       1100 LOUISIANA STREET, SUITE 4850                     $600,000.00 for the Benefit of Chevron NA Expl & Prod Co
       HOUSTON, TX 77002-5216




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.22   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       MUFG Union Bank NA

       Creditor's mailing address                            Describe the lien
       ATTN: STEPHEN WARFEL                                  Guarantor on Letter of Credit Number S237094, In the Amount of
       1100 LOUISIANA STREET, SUITE 4850                     $120,000.00 for the Benefit of Four Star Oil
       HOUSTON, TX 77002-5216




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 11 of 14
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Debtor           Northern Michigan Exploration Company, L.L.C.                                              Case number (if known) 20-33271 (DRJ)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.23   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       MUFG Union Bank NA

       Creditor's mailing address                            Describe the lien
       ATTN: STEPHEN WARFEL                                  Guarantor on Letter of Credit Number S331355M, In the Amount
       1100 LOUISIANA STREET, SUITE 4850                     of $10,552,289.00 for the Benefit of Liberty Mutual Insurance
       HOUSTON, TX 77002-5216




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.24   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       MUFG Union Bank NA

       Creditor's mailing address                            Describe the lien
       ATTN: STEPHEN WARFEL                                  Guarantor on Letter of Credit Number S337539M, In the Amount
       1100 LOUISIANA STREET, SUITE 4850                     of $1,200,000.00 for the Benefit of Starr Insurance Company
       HOUSTON, TX 77002-5216




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 12 of 14
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Debtor           Northern Michigan Exploration Company, L.L.C.                                              Case number (if known) 20-33271 (DRJ)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.25   Creditor's name                                       Describe debtor's property that is subject to a lien                $1,928,977,189.56         $ Undetermined
       MUFG Union Bank, N.A.

       Creditor's mailing address                            Describe the lien
       ATTN: STEPHEN WARFEL                                  Guarantor on Revolving Credit Facility
       1100 LOUISIANA STREET, SUITE 4850
       HOUSTON, TX 77002-5216




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred 09/12/2018
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.26   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       MUFG UNION BANK, NA                                   As provided in the UCC Financing Statement

       Creditor's mailing address                            Describe the lien
       AS COLLATERAL AGENT                                   UCC - Lien Claim - As provided in UCC File Number 2016079843
       1251 AVE OF THE AMERICAS, 12TH FL                     -4 dated 06/07/2016, as amended by UCC Financing Statement
       NEW YORK, NY 10020                                    20170127000683-7




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                              X No
                                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                            X Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.
                 See Schedule D Disclosures



                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 13 of 14
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Debtor         Northern Michigan Exploration Company, L.L.C.                                      Case number (if known) 20-33271 (DRJ)
              Name




Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no other need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                               On which line in Part 1     Last 4 digits of
         Name and address                                                                                      did you enter the           account number
                                                                                                               related creditor?           for this entity


    None




Official Form 206D              Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                              Page 14 of 14
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    Northern Michigan Exploration Company, L.L.C.
                           Southern                 Texas

     20-33271 (DRJ)




X




                                                                          17
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         Northern Michigan Exploration Company, L.L.C.                              20-33271 (DRJ)




BEVIER, JOHN                                                                                         Undetermined
C/O SCHLECTE LAW FIRM, P.C.                              X
ATTN: SCHLECTE, WILLIAM M.                               X
761 WEST MICHIGAN AVE., SUITE L                          X
JACKSON, MI 49201
                                                             Litigation, Case # 14-11789-CK

                                       Undetermined
                                                         X



                                                                                                     Undetermined
BOWMAN, VERVANE
C/O SCHLECTE LAW FIRM, P.C.                              X
ATTN: SCHLECTE, WILLIAM M.                               X
761 WEST MICHIGAN AVE., SUITE L                          X
JACKSON, MI 49201
                                                             Litigation, Case # 14-11789-CK

                                        Undetermined
                                                         X



C&L LLC MURRAY                                                                                       Undetermined
C/O SCHLECTE LAW FIRM, P.C.                              X
ATTN: SCHLECTE, WILLIAM M.                               X
761 WEST MICHIGAN AVE., SUITE L                          X
JACKSON, MI 49201
                                                             Litigation, Case # 14-11789-CK

                                        Undetermined
                                                         X


                                                                                                     Undetermined
C&L PROPERTIES
C/O SCHLECTE LAW FIRM, P.C.                              X
ATTN: SCHLECTE, WILLIAM M.                               X
761 WEST MICHIGAN AVE., SUITE L                          X
JACKSON, MI 49201
                                                             Litigation, Case # 14-11789-CK

                                        Undetermined
                                                         X


                                                                                                     Undetermined
CACTUS WELLHEAD, LLC
C/O BRADLEY ARANT BOULT CUMMINGS LLP                     X
ATTN: SCOTT, JUSTIN T                                    X
JPMORGAN CHASE TOWER, 600 TRAVIS STREET, STE 4800        X
HOUSTON, TX 77002
                                                             Demand/Threatened Litigation

                                        Undetermined
                                                         X



CHESAPEAKE ENERGY CORPORATION                                                                         2,626,338.00
6100 N WESTERN AVE
OKLAHOMA CITY, OK 73118


                                                             Intercompany Payable




                                                                                                     page 2 of 17
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Debtor          Northern Michigan Exploration Company, L.L.C.                                  Case number (if known) 20-33271 (DRJ)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.7       Nonpriority creditor's name and mailing address                                                                                    $260,068,784.67

         CHESAPEAKE OPERATING, L.L.C.                                    As of the petition filing date, the claim is:
         6100 N WESTERN AVE                                              Check all that apply.
         OKLAHOMA CITY, OK 73118




                                                                         Basis for the claim: Intercompany Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.8       Nonpriority creditor's name and mailing address                                                                                    $623,595,000.00

         DEUTSCHE BANK TRUST COMPANY AMERICAS                            As of the petition filing date, the claim is:
         ATTENTION: CORPORATES DEAL TEAM MANAGER – CHESAPEAKE            Check all that apply.
         ENERGY CORPORATION
         TRUST & AGENCY SERVICES                                          X
         60 WALL STREET, 16TH FLOOR                                       X
         MAIL STOP: NYC60-1630
                                                                         Basis for the claim: Guarantor on 7.00% Senior Notes due 2024

         Date or dates debt was incurred 09/27/2018                      Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.9       Nonpriority creditor's name and mailing address                                                                                    $126,888,000.00

         DEUTSCHE BANK TRUST COMPANY AMERICAS                            As of the petition filing date, the claim is:
         ATTENTION: CORPORATES DEAL TEAM MANAGER – CHESAPEAKE            Check all that apply.
         ENERGY CORPORATION
         TRUST & AGENCY SERVICES                                          X
         60 WALL STREET, 16TH FLOOR                                       X
         MAIL STOP: NYC60-1630
                                                                         Basis for the claim: Guarantor on 5.375% Senior Notes due 2021

         Date or dates debt was incurred 04/01/2013                      Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.10      Nonpriority creditor's name and mailing address                                                                                     $45,861,000.00

         DEUTSCHE BANK TRUST COMPANY AMERICAS                            As of the petition filing date, the claim is:
         ATTENTION: CORPORATES DEAL TEAM MANAGER – CHESAPEAKE            Check all that apply.
         ENERGY CORPORATION
         TRUST & AGENCY SERVICES                                          X
         60 WALL STREET, 16TH FLOOR                                       X
         MAIL STOP: NYC60-1630
                                                                         Basis for the claim: Guarantor on 8.00% Senior Notes due 2026

         Date or dates debt was incurred 04/03/2019                      Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.11      Nonpriority creditor's name and mailing address                                                                                    $246,474,000.00

         DEUTSCHE BANK TRUST COMPANY AMERICAS                            As of the petition filing date, the claim is:
         ATTENTION: CORPORATES DEAL TEAM MANAGER – CHESAPEAKE            Check all that apply.
         ENERGY CORPORATION
         TRUST & AGENCY SERVICES                                          X
         60 WALL STREET, 16TH FLOOR                                       X
         MAIL STOP: NYC60-1630
                                                                         Basis for the claim: Guarantor on 8.00% Senior Notes due 2025

         Date or dates debt was incurred 12/20/2016                      Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          Northern Michigan Exploration Company, L.L.C.                                  Case number (if known) 20-33271 (DRJ)
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Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.12      Nonpriority creditor's name and mailing address                                                                                    $252,747,000.00

         DEUTSCHE BANK TRUST COMPANY AMERICAS                            As of the petition filing date, the claim is:
         ATTENTION: CORPORATES DEAL TEAM MANAGER – CHESAPEAKE            Check all that apply.
         ENERGY CORPORATION
         TRUST & AGENCY SERVICES                                          X
         60 WALL STREET, 16TH FLOOR                                       X
         MAIL STOP: NYC60-1630
                                                                         Basis for the claim: Guarantor on 8.00% Senior Notes due 2027

         Date or dates debt was incurred 06/06/2017                      Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.13      Nonpriority creditor's name and mailing address                                                                                    $271,759,000.00

         DEUTSCHE BANK TRUST COMPANY AMERICAS                            As of the petition filing date, the claim is:
         ATTENTION: CORPORATES DEAL TEAM MANAGER – CHESAPEAKE            Check all that apply.
         ENERGY CORPORATION
         TRUST & AGENCY SERVICES                                          X
         60 WALL STREET, 16TH FLOOR                                       X
         MAIL STOP: NYC60-1630
                                                                         Basis for the claim: Guarantor on 4.875% Senior Notes due 2022

         Date or dates debt was incurred 04/24/2014                      Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.14      Nonpriority creditor's name and mailing address                                                                                  $1,064,225,000.00

         DEUTSCHE BANK TRUST COMPANY AMERICAS                            As of the petition filing date, the claim is:
         ATTENTION: CORPORATES DEAL TEAM MANAGER – CHESAPEAKE            Check all that apply.
         ENERGY CORPORATION
         TRUST & AGENCY SERVICES                                          X
         60 WALL STREET, 16TH FLOOR                                       X
         MAIL STOP: NYC60-1630
                                                                         Basis for the claim: Guarantor on 5.5% convertible Senior Notes due 2026

         Date or dates debt was incurred 10/05/2016                      Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.15      Nonpriority creditor's name and mailing address                                                                                    $167,743,000.00

         DEUTSCHE BANK TRUST COMPANY AMERICAS                            As of the petition filing date, the claim is:
         ATTENTION: CORPORATES DEAL TEAM MANAGER – CHESAPEAKE            Check all that apply.
         ENERGY CORPORATION
         TRUST & AGENCY SERVICES                                          X
         60 WALL STREET, 16TH FLOOR                                       X
         MAIL STOP: NYC60-1630
                                                                         Basis for the claim: Guarantor on 5.75% Senior Notes due 2023

         Date or dates debt was incurred 04/01/2013                      Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.16      Nonpriority creditor's name and mailing address                                                                                    $118,937,000.00

         DEUTSCHE BANK TRUST COMPANY AMERICAS                            As of the petition filing date, the claim is:
         ATTENTION: CORPORATES DEAL TEAM MANAGER – CHESAPEAKE            Check all that apply.
         ENERGY CORPORATION
         TRUST & AGENCY SERVICES                                          X
         60 WALL STREET, 16TH FLOOR                                       X
         MAIL STOP: NYC60-1630
                                                                         Basis for the claim: Guarantor on 7.5% Senior Notes due 2026

         Date or dates debt was incurred 09/27/2018                      Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.17      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         GEERS, BERNARD                                                  As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.18      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         GUEST, MICHAEL                                                  As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.19      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         HALLEY, MAXINE                                                  As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.20      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         HANFORD, GRACE                                                  As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.21      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         HAYDEN, KELLY                                                   As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.22      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         HAYMARSH GROUP                                                  As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.23      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         HILL, LAURA                                                     As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.24      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         HILL, RHONDA                                                    As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.25      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         HULL, DARRELL                                                   As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.26      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         HULL, KATHLEEN                                                  As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.27      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         HUNT, CARL                                                      As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.28      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         HUNT, KAREN                                                     As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.29      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         JOHNSON, JUDITH                                                 As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.30      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         JOHNSON, MARCIA                                                 As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.31      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         LAKE FIVE, LLC                                                  As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.32      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         LARSON, RICHARD                                                 As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.33      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         LONEY, JACK                                                     As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.34      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         LONEY, MICHAEL                                                  As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.35      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         LONEY, WILLIAM                                                  As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.36      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         MALONEY, ED                                                     As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.37      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         MARCUSSE, DAVE                                                  As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.38      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         MULLER, MIKE                                                    As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.39      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         MURRARY, R. SMP                                                 As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.40      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         MURRAY PFLUM SUNSET SHORES                                      As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.41      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         MURRAY, BOB                                                     As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.42      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         MURRAY, CHRISTINA                                               As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.43      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         MURRAY, JR., ROBERT                                             As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.44      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         MURRAY, JUDY                                                    As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.45      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         MURRAY, LAURA                                                   As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.46      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         MURRAY, PFLUM SUNSET SHORTS                                     As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          Northern Michigan Exploration Company, L.L.C.                                  Case number (if known) 20-33271 (DRJ)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.47      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         MURRAY, ROBERT                                                  As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.48      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         NETTLE, DAVID                                                   As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.49      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         NORTHERN MICHIGAN EXPLORATION COMPANY, LLC                      As of the petition filing date, the claim is:
         C/O LOOMIS, EWERT, PARSLEY, DAVIS & GOTTING, P.C.               Check all that apply.
         ATTN: SARA L. CUNNINGHAM
         124 WEST ALLEGAN, SUITE 700                                      X
         LANSING, MI 48933                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.50      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         PFLUM, FRANK                                                    As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.51      Nonpriority creditor's name and mailing address                                                                                     $ Undetermined

         REDSKY LAND, LLC                                                As of the petition filing date, the claim is:
         C/O LOOMIS, EWERT, PARSLEY, DAVIS & GOTTING, P.C.               Check all that apply.
         ATTN: SARA L. CUNNINGHAM
         124 WEST ALLEGAN, SUITE 700                                      X
         LANSING, MI 48933                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          Northern Michigan Exploration Company, L.L.C.                                  Case number (if known) 20-33271 (DRJ)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.52      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         RJM ENT. INC.                                                   As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.53      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         ROSE-SHAW, KIM                                                  As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.54      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         SCHMITT, JOSEPH                                                 As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.55      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         SILVER LAKE ENERGY LLC                                          As of the petition filing date, the claim is:
         C/O LOOMIS, EWERT, PARSLEY, DAVIS & GOTTING, P.C.               Check all that apply.
         ATTN: SARA L. CUNNINGHAM
         124 WEST ALLEGAN, SUITE 700                                      X
         LANSING, MI 48933                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.56      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         SMP INVESTMENT CORP                                             As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          Northern Michigan Exploration Company, L.L.C.                                  Case number (if known) 20-33271 (DRJ)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.57      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         SPENCER, MELVIN                                                 As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.58      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         SPENCER, NATHAN                                                 As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.59      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         STRICKLER, WILLIAM J. REV TRUST                                 As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.60      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         SUNSET SHORES - LEARCH, VERN                                    As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.61      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         SUNSET SHORES DEV. - SCALF, LYNETTE                             As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

Official Form 206E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 13 of 17
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Debtor          Northern Michigan Exploration Company, L.L.C.                                  Case number (if known) 20-33271 (DRJ)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.62      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         SUNSET SHORES FINANCIAL                                         As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.63      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         SUNSET SHORES                                                   As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.64      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         SZPYTEK, RICKY                                                  As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.65      Nonpriority creditor's name and mailing address                                                                                    $176,483,000.00

         THE BANK OF NEW YORK TRUST COMPANY, N.A.                        As of the petition filing date, the claim is:
         2 N. LASALLE STREET                                             Check all that apply.
         SUITE 1020
         CHICAGO, IL 60602                                                X
                                                                          X


                                                                         Basis for the claim: Guarantor on 6.625% Senior Notes due 2020

         Date or dates debt was incurred 08/02/2010                      Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.66      Nonpriority creditor's name and mailing address                                                                                     $73,598,000.00

         THE BANK OF NEW YORK TRUST COMPANY, N.A.                        As of the petition filing date, the claim is:
         2 N. LASALLE STREET                                             Check all that apply.
         SUITE 1020
         CHICAGO, IL 60602                                                X
                                                                          X


                                                                         Basis for the claim: Guarantor on 6.875% Senior Notes due 2020

         Date or dates debt was incurred 11/08/2005                      Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

Official Form 206E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 14 of 17
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Debtor          Northern Michigan Exploration Company, L.L.C.                                  Case number (if known) 20-33271 (DRJ)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.67      Nonpriority creditor's name and mailing address                                                                                    $166,350,000.00

         THE BANK OF NEW YORK TRUST COMPANY, N.A.                        As of the petition filing date, the claim is:
         2 N. LASALLE STREET                                             Check all that apply.
         SUITE 1020
         CHICAGO, IL 60602                                                X
                                                                          X


                                                                         Basis for the claim: Guarantor on 6.125% Senior Notes due 2021

         Date or dates debt was incurred 08/02/2010                      Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.68      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         VANDERWAL LIVING TRUST                                          As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.69      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         WEST BRANCH GROUP, LLC                                          As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.70      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         WINN, DARRY                                                     As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.71      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         ZUIDERVEEN, LINDA                                               As of the petition filing date, the claim is:
         C/O SCHLECTE LAW FIRM, P.C.                                     Check all that apply.
         ATTN: SCHLECTE, WILLIAM M.
         761 WEST MICHIGAN AVE., SUITE L                                  X
         JACKSON, MI 49201                                                X
                                                                          X

                                                                         Basis for the claim: Litigation, Case # 14-11789-CK

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          Northern Michigan Exploration Company, L.L.C.                                          Case number (if known) 20-33271 (DRJ)
               Name




 Part 3:       List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for unsecured creditors.
If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



      Name and mailing address                                                                 On which line in Part 1 or Part 2 is            Last 4 digits of
                                                                                               the related creditor (if any) listed?           account number, if
                                                                                                                                               any




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 16 of 17
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Northern Michigan Exploration Company, L.L.C.        20-33271 (DRJ)




                                                                                        0.00




                                                                          3,597,355,122.67
                                                                      + undetermined amounts




                                                                          3,597,355,122.67
                                                                      + undetermined amounts




                                                                        Page 17 of 17
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    Northern Michigan Exploration Company, L.L.C.

                          Southern
                                                       Texas
               20-33271 (DRJ)                           11




X




                             JOINT DEVELOPMENT AGREEMENT DATED   ADDIE SUE FERRIS FAM TR ADDIE SUE FERRIS TRST
                             05/03/2007                          ADDRESS REDACTED




                             JOINT DEVELOPMENT AGREEMENT DATED   AGNES ANN HANSON
                             05/03/2007                          ADDRESS REDACTED




                             JOINT OPERATING AGREEMENT DATED     AGNES ANN HANSON
                             05/03/2007                          ADDRESS REDACTED




                             JOINT DEVELOPMENT AGREEMENT DATED
                                                                 AGNES G BRESLIN
                             05/03/2007
                                                                 ADDRESS REDACTED




                             JOINT DEVELOPMENT AGREEMENT DATED
                                                                 ALFRED B & JUNE E MCCLOSKEY JT
                             05/03/2007
                                                                 ADDRESS REDACTED




                                                                                                                 18
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Debtor         Northern Michigan Exploration Company, L.L.C.                              Case number (if known) 20-33271 (DRJ)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                           JOINT DEVELOPMENT               ANADARKO E&P ONSHORE LLC
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      1201 LAKE ROBBINS DR
            lease is for and the nature
2.6                                                                        SPRING, TX 77380-1181
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT OPERATING AGREEMENT       ANADARKO E&P ONSHORE LLC
            State what the contract or
                                           DATED 05/03/2007                1201 LAKE ROBBINS DR
            lease is for and the nature
2.7                                                                        SPRING, TX 77380-1181
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               ANSCHUTZ OIL CO LLC
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      555 17TH ST STE 2400
            lease is for and the nature
2.8                                                                        DENVER, CO 80202-3941
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               ARTESIA DOI BALANCING
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.9
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               ARTHUR G LINKLETTER
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.10
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               AUDREY NOYES
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.11
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               BARRETT WYOMING INTERESTS LTD
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      PO BOX 171190
            lease is for and the nature
2.12                                                                       SAN ANTONIO, TX 78217-8190
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                               Page 2 of 18
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Debtor         Northern Michigan Exploration Company, L.L.C.                              Case number (if known) 20-33271 (DRJ)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                           JOINT OPERATING AGREEMENT       BARRETT WYOMING INTERESTS LTD
            State what the contract or
                                           DATED 05/03/2007                PO BOX 171190
            lease is for and the nature
2.13                                                                       SAN ANTONIO, TX 78217-8190
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               BERNARD J SULLIVAN
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.14
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               CHARLES WILSON JAMES H LOPRETE AIF
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.15
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               CHERYL K MILLER
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.16
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               CHESAPEAKE AEZ EXPLORATION LLC
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      PO BOX 18496
            lease is for and the nature
2.17                                                                       OKLAHOMA CITY, OK 73154-0496
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT OPERATING AGREEMENT       CHESAPEAKE AEZ EXPLORATION LLC
            State what the contract or
                                           DATED 05/03/2007                PO BOX 18496
            lease is for and the nature
2.18                                                                       OKLAHOMA CITY, OK 73154-0496
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               CHESAPEAKE EXPL LLC (CELP)
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      PO BOX 18496
            lease is for and the nature
2.19                                                                       OKLAHOMA CITY, OK 73154-0496
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                               Page 3 of 18
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Debtor         Northern Michigan Exploration Company, L.L.C.                              Case number (if known) 20-33271 (DRJ)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                           JOINT OPERATING AGREEMENT       CHESAPEAKE EXPL LLC (CELP)
            State what the contract or
                                           DATED 05/03/2007                PO BOX 18496
            lease is for and the nature
2.20                                                                       OKLAHOMA CITY, OK 73154-0496
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               CHEYENNE RIVER LLC
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      2626 HOWELL ST STE 800
            lease is for and the nature
2.21                                                                       DALLAS, TX 75204-0831
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               CNOOC ENERGY USA LLC - NIOBRARA
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      945 BUNKER HILL RD STE 1000
            lease is for and the nature
2.22                                                                       HOUSTON, TX 77024-1358
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT OPERATING AGREEMENT       CNOOC ENERGY USA LLC - NIOBRARA
            State what the contract or
                                           DATED 05/03/2007                945 BUNKER HILL RD STE 1000
            lease is for and the nature
2.23                                                                       HOUSTON, TX 77024-1358
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               CONVERSE COUNTY LAND & MINERAL
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      2406 FOSSIL TRACE DR
            lease is for and the nature
2.24                                                                       GOLDEN, CO 80401-6148
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               CROW PARTNERS LTD
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      PO BOX 540988
            lease is for and the nature
2.25                                                                       HOUSTON, TX 77254-0988
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               D&B TR DTD 4-19-82
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      PO BOX 1114
            lease is for and the nature
2.26                                                                       REDLANDS, CA 92373-0341
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract




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Debtor         Northern Michigan Exploration Company, L.L.C.                              Case number (if known) 20-33271 (DRJ)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                           JOINT DEVELOPMENT               DENNIS TOWLE
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.27
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               DON BEAL
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.28
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               DON CORLEY
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.29
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               DONALD F LAPENNA
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.30
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               DONNA RAE MOWRER
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.31
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               DORCHESTER RESOURCES LP
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      PO BOX 18879
            lease is for and the nature
2.32                                                                       OKLAHOMA CITY, OK 73154-0879
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               DOUGLAS & NANCY VAN HOWD
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.33
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract




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Debtor         Northern Michigan Exploration Company, L.L.C.                              Case number (if known) 20-33271 (DRJ)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                           JOINT DEVELOPMENT               DOUGLAS & SARA G KITTREDGE
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.34
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               EGERTON S HARRIS IV
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.35
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               EOG RESOURCES INC JAMES C FLETCHER AIF
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      PO BOX 840321
            lease is for and the nature
2.36                                                                       DALLAS, TX 75284-0321
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               FAIRWAY RESOURCES INC WILLIAM G MILLS II AIF
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      100 SAINT PAUL ST STE 305
            lease is for and the nature
2.37                                                                       DENVER, CO 80206-5105
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               FRANCES M HARRIS
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.38
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               FRANCIS B GILBERT
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.39
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               FRANK J BRESLIN
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.40
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract




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Debtor         Northern Michigan Exploration Company, L.L.C.                              Case number (if known) 20-33271 (DRJ)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                           JOINT DEVELOPMENT               FRANK W KOENEN
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.41
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               GEORGE VAN AUKEN
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.42
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               GUNLIKSON PETROLEUM INC
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      17 BROOKHAVEN TRL
            lease is for and the nature
2.43                                                                       LITTLETON, CO 80123-6686
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT OPERATING AGREEMENT       GUNLIKSON PETROLEUM INC
            State what the contract or
                                           DATED 05/03/2007                17 BROOKHAVEN TRL
            lease is for and the nature
2.44                                                                       LITTLETON, CO 80123-6686
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               HAROLD B LINDBERG TR
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.45
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT OPERATING AGREEMENT       HAROLD B LINDBERG TR
            State what the contract or
                                           DATED 05/03/2007                ADDRESS REDACTED
            lease is for and the nature
2.46
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               HAROLD HUDSON
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.47
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract




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              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                           JOINT DEVELOPMENT               I V MANAGEMENT CORP
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      6341 VAL COLINITA
            lease is for and the nature
2.48                                                                       RANCHO PALOS VERDES, CA 90274
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               IMPACT ENERGY RESOURCES LLC
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      PO BOX 1059
            lease is for and the nature
2.49                                                                       PARKER, CO 80134-1059
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               JAMES G MILLER
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.50
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               JAMESTOWN RESOURCES LLC BLACK FALCON ENERGY LLC AIF
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      717 TEXAS ST STE 3100
            lease is for and the nature
2.51                                                                       HOUSTON, TX 77002-2761
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT OPERATING AGREEMENT       JAMESTOWN RESOURCES LLC BLACK FALCON ENERGY LLC AIF
            State what the contract or
                                           DATED 05/03/2007                717 TEXAS ST STE 3100
            lease is for and the nature
2.52                                                                       HOUSTON, TX 77002-2761
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT OPERATING AGREEMENT       JAY PETROLEUM LLC
            State what the contract or
                                           DATED 05/03/2007                1001 WEST LOOP S STE 750
            lease is for and the nature
2.53                                                                       HOUSTON, TX 77027-9046
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               JEAN BARSAM
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.54
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract




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              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                           JOINT DEVELOPMENT               JOAN L LEEDS
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.55
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               JOHN C HEERS & SONS
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.56
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               JOHN C TYLER
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.57
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               JOHN H SEXTON
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.58
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               JOHN J TUTTLE
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.59
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               JOHN W GILBERT & BETTY GILBERT
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.60
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               JOYCE WILSON
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.61
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract




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Debtor         Northern Michigan Exploration Company, L.L.C.                              Case number (if known) 20-33271 (DRJ)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                           JOINT DEVELOPMENT               JRG WORKING INTEREST LLC
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      PO BOX 1605
            lease is for and the nature
2.62                                                                       RED LODGE, MT 59068-1605
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT OPERATING AGREEMENT       JRG WORKING INTEREST LLC
            State what the contract or
                                           DATED 05/03/2007                PO BOX 1605
            lease is for and the nature
2.63                                                                       RED LODGE, MT 59068-1605
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               JTT OIL LLC
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      2405 W 4J RD
            lease is for and the nature
2.64                                                                       GILLETTE, WY 82718-9344
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT OPERATING AGREEMENT       JTT OIL LLC
            State what the contract or
                                           DATED 05/03/2007                2405 W 4J RD
            lease is for and the nature
2.65                                                                       GILLETTE, WY 82718-9344
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               K2T2 RESOURCES LLC
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      2993 S MILWAUKEE CIR
            lease is for and the nature
2.66                                                                       DENVER, CO 80210-6755
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT OPERATING AGREEMENT       K2T2 RESOURCES LLC
            State what the contract or
                                           DATED 05/03/2007                2993 S MILWAUKEE CIR
            lease is for and the nature
2.67                                                                       DENVER, CO 80210-6755
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               KAISER FRANCIS OIL CO
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      DEPT 637
            lease is for and the nature
2.68                                                                       TULSA, OK 74182
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract




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Debtor         Northern Michigan Exploration Company, L.L.C.                              Case number (if known) 20-33271 (DRJ)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                           JOINT DEVELOPMENT               KARA INC
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      PO BOX 1114
            lease is for and the nature
2.69                                                                       REDLANDS, CA 92373-0341
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               KATHLEEN J BRESLIN
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.70
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               KELLY NOYES
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.71
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               KENNETH HARBACK
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.72
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               KERR MCGEE OIL &GAS ONSHORE LP
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      PO BOX 730875
            lease is for and the nature
2.73                                                                       DALLAS, TX 75373-0875
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               KHODY LAND & MINERALS CO
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      PO BOX 660367
            lease is for and the nature
2.74                                                                       DALLAS, TX 75266-0367
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               LARCHMONT RESOURCES LLC BLACK FALCON ENERGY AIF
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      717 TEXAS ST STE 3100
            lease is for and the nature
2.75                                                                       HOUSTON, TX 77002-2761
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract




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Debtor         Northern Michigan Exploration Company, L.L.C.                              Case number (if known) 20-33271 (DRJ)
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           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                           JOINT OPERATING AGREEMENT       LARCHMONT RESOURCES LLC BLACK FALCON ENERGY AIF
            State what the contract or
                                           DATED 05/03/2007                717 TEXAS ST STE 3100
            lease is for and the nature
2.76                                                                       HOUSTON, TX 77002-2761
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               LAWRENCE H MCCLOSKEY
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.77
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               LEON L TOWELL
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.78
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           SURETY BOND DATED 05/03/2019    LIBERTY MUTUAL GROUP
            State what the contract or
                                                                           7900 WINDROSE AVENUE
            lease is for and the nature
2.79                                                                       ATTN: ANDREW MINER
            of the debtor’s interest
                                                                           PLANO, TX 75024


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               MATRIX PRODUCTION COMPANY
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      5725 COMMONWEALTH BLVD
            lease is for and the nature
2.80                                                                       SUGAR LAND, TX 77479-3999
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT OPERATING AGREEMENT       MATRIX PRODUCTION COMPANY
            State what the contract or
                                           DATED 05/03/2007                5725 COMMONWEALTH BLVD
            lease is for and the nature
2.81                                                                       SUGAR LAND, TX 77479-3999
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               MBI OIL & GAS LLC
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      103 5TH ST SE
            lease is for and the nature
2.82                                                                       DICKINSON, ND 58601-6022
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract




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           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                           JOINT DEVELOPMENT               MCCLOSKEY REV TR BRIAN P MCCLOSKEY TRST
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.83
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               MCCULLOUGH LIV TR
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.84
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT OPERATING AGREEMENT       MCCULLOUGH LIV TR
            State what the contract or
                                           DATED 05/03/2007                ADDRESS REDACTED
            lease is for and the nature
2.85
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               MORTON PRODUCTION CO LLC
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      PO BOX 1100
            lease is for and the nature
2.86                                                                       DOUGLAS, WY 82633-1100
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT OPERATING AGREEMENT       MORTON PRODUCTION CO LLC
            State what the contract or
                                           DATED 05/03/2007                PO BOX 1100
            lease is for and the nature
2.87                                                                       DOUGLAS, WY 82633-1100
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               NIWOT RESOURCES LLC
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      7053 S ONEIDA CIR
            lease is for and the nature
2.88                                                                       CENTENNIAL, CO 80112-1125
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT OPERATING AGREEMENT       NIWOT RESOURCES LLC
            State what the contract or
                                           DATED 05/03/2007                7053 S ONEIDA CIR
            lease is for and the nature
2.89                                                                       CENTENNIAL, CO 80112-1125
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                               Page 13 of 18
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Debtor         Northern Michigan Exploration Company, L.L.C.                              Case number (if known) 20-33271 (DRJ)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                           JOINT DEVELOPMENT               PAUL J HUBBS
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.90
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               PELICAN ENERGY LLC BLACK FALCON ENERGY LLC AIF
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      717 TEXAS ST STE 3100
            lease is for and the nature
2.91                                                                       HOUSTON, TX 77002-2761
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT OPERATING AGREEMENT       PELICAN ENERGY LLC BLACK FALCON ENERGY LLC AIF
            State what the contract or
                                           DATED 05/03/2007                717 TEXAS ST STE 3100
            lease is for and the nature
2.92                                                                       HOUSTON, TX 77002-2761
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               PRIMA EXPLORATION INC
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      250 FILLMORE ST UNIT 500
            lease is for and the nature
2.93                                                                       DENVER, CO 80206-5012
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT OPERATING AGREEMENT       PRIMA EXPLORATION INC
            State what the contract or
                                           DATED 05/03/2007                250 FILLMORE ST UNIT 500
            lease is for and the nature
2.94                                                                       DENVER, CO 80206-5012
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               RED TECHNOLOGY ALLIANCE LLC HALLIBURTON ENERGY SRVCS INC
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      3000 N SAM HOUSTON PKWY E
            lease is for and the nature
2.95                                                                       HOUSTON, TX 77032-3219
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT OPERATING AGREEMENT       RED TECHNOLOGY ALLIANCE LLC HALLIBURTON ENERGY SRVCS INC
            State what the contract or
                                           DATED 05/03/2007                3000 N SAM HOUSTON PKWY E
            lease is for and the nature
2.96                                                                       HOUSTON, TX 77032-3219
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                               Page 14 of 18
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Debtor         Northern Michigan Exploration Company, L.L.C.                              Case number (if known) 20-33271 (DRJ)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                           JOINT DEVELOPMENT               REDLANDS RESOURCES INC
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      28581 OLD TOWN FRONT ST
            lease is for and the nature
2.97                                                                       TEMECULA, CA 92590-2724
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               RGPG INVESTMENTS
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      1550 W DRY CREEK RD
            lease is for and the nature
2.98                                                                       LITTLETON, CO 80120-4494
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               RICHARD C BROWN
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.99
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               ROBERT B MCCULLOUGH
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.100
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT OPERATING AGREEMENT       ROBERT B MCCULLOUGH
            State what the contract or
                                           DATED 05/03/2007                ADDRESS REDACTED
            lease is for and the nature
2.101
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               ROCKY MOUNTAIN EXPLORATION INC
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      5441 PRESERVE PKWY S
            lease is for and the nature
2.102                                                                      GREENWOOD VLG, CO 80121-2148
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               SAM R RATCLIFF EST IRREV TR FIRST INTERSTATE BANK TRST FARMERS
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      NATIONAL COMPANY AGT
            lease is for and the nature
2.103                                                                      PO BOX 3480
            of the debtor’s interest
                                                                           OMAHA, NE 68103-0480


            State the term remaining
            List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                               Page 15 of 18
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Debtor         Northern Michigan Exploration Company, L.L.C.                               Case number (if known) 20-33271 (DRJ)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                           JOINT DEVELOPMENT               SCOTT NOYES
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.104
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           PURCHASE AND SALE               SHALE ENERGY COMPANY, LLC
            State what the contract or
                                           AGREEMENT DATED 01/29/2014      954 BUSINESS PARK DRIVE, SUITE 5
            lease is for and the nature
2.105                                                                      TRAVERSE CITY, MI 49686
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           PURCHASE AND SALE               SHALE ENERGY COMPANY, LLC
            State what the contract or
                                           AGREEMENT DATED 03/07/2014      954 BUSINESS PARK DRIVE, SUITE 5
            lease is for and the nature
2.106                                                                      TRAVERSE CITY, MI 49686
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               SINCLAIR OIL & GAS CO
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      550 E SOUTH TEMPLE
            lease is for and the nature
2.107                                                                      SALT LAKE CITY, UT 84102-1005
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               STAR INVESTMENT CORPORATION
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      PO BOX 2306
            lease is for and the nature
2.108                                                                      GILLETTE, WY 82717-2306
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               STEWART GEOLOGICAL INC
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      2650 OVERLAND AVE
            lease is for and the nature
2.109                                                                      BILLINGS, MT 59102-7407
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           LETTER AGREEMENT DATED          SUBLIME ENERGY LLC
            State what the contract or
                                           08/12/2019                      3243 ROGUE RIVER ROAD NE
            lease is for and the nature
2.110                                                                      BELMONT, MI 49306
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                Page 16 of 18
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Debtor         Northern Michigan Exploration Company, L.L.C.                               Case number (if known) 20-33271 (DRJ)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                           JOINT DEVELOPMENT               TED RAZOOK
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.111
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               THEDA & EMERSON HALL
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.112
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               THOMAS L JEFFRIES
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.113
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               UNLEASED INTEREST
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      MISSING OR PARTIAL ADDRESS INFORMATION
            lease is for and the nature
2.114                                                                      , OK
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               VALEEN ENERGY LLC
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      1120 N LINCOLN ST STE 908
            lease is for and the nature
2.115                                                                      DENVER, CO 80203-2138
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               VARTKES BARSAM
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.116
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               WAGNER TR
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.117
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                Page 17 of 18
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Debtor         Northern Michigan Exploration Company, L.L.C.                              Case number (if known) 20-33271 (DRJ)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                           JOINT DEVELOPMENT               WARRIOR RESOURCES I LP
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      14301 CALIBER DR STE 100
            lease is for and the nature
2.118                                                                      OKLAHOMA CITY, OK 73134-1016
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               WAVE PETROLEUM LLC
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      103 5TH ST SE
            lease is for and the nature
2.119                                                                      DICKINSON, ND 58601-6022
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               WILLIAM C & BENITA M BUSTER
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.120
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               WILLIAM F BLATNICK
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.121
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                           JOINT DEVELOPMENT               WILLIAM L PEASE
            State what the contract or
                                           AGREEMENT DATED 05/03/2007      ADDRESS REDACTED
            lease is for and the nature
2.122
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                               Page 18 of 18
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         Northern Michigan Exploration Company, L.L.C.

                               Southern                            Texas

                    20-33271 (DRJ)




X




MidCon Compression, L.L.C. 6100 N Western Ave Oklahoma City, OK 73118      Deutsche Bank Trust Company
                                                                           Americas                      X




MidCon Compression, L.L.C. 6100 N Western Ave Oklahoma City, OK 73118      Deutsche Bank Trust Company
                                                                           Americas
                                                                                                         X




MidCon Compression, L.L.C. 6100 N Western Ave Oklahoma City, OK 73118      GLAS USA LLC
                                                                                                         X




MidCon Compression, L.L.C. 6100 N Western Ave Oklahoma City, OK 73118      MUFG Union Bank, N.A.         X




MidCon Compression, L.L.C. 6100 N Western Ave Oklahoma City, OK 73118      The Bank of New York Trust
                                                                           Company, N.A.
                                                                                                         X




Brazos Valley Longhorn      6100 N Western Ave Oklahoma City, OK 73118     Deutsche Bank Trust Company
Finance Corp.                                                              Americas
                                                                                                         X




                                                                                                             17
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Debtor         Northern Michigan Exploration Company, L.L.C.                           Case number (if known) 20-33271 (DRJ)
              Name




            Additional Page if Debtor Has More Codebtors


          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                    Column 2: Creditor


           Name                         Mailing address                                           Name                          Check all schedules
                                                                                                                                that apply:

2.7    Brazos Valley Longhorn      6100 N Western Ave Oklahoma City, OK 73118                 GLAS USA LLC
       Finance Corp.
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.8    Brazos Valley Longhorn      6100 N Western Ave Oklahoma City, OK 73118                 MUFG Union Bank, N.A.
       Finance Corp.
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.9    Chesapeake Exploration,     6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
       L.L.C.                                                                                 Americas
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.10   Chesapeake Exploration,     6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
       L.L.C.                                                                                 Americas
                                                                                                                                   D
                                                                                                                                 X E/F
                                                                                                                                   G

2.11   Chesapeake Exploration,     6100 N Western Ave Oklahoma City, OK 73118                 GLAS USA LLC
       L.L.C.
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.12   Chesapeake Exploration,     6100 N Western Ave Oklahoma City, OK 73118                 MUFG Union Bank, N.A.
       L.L.C.
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.13   Chesapeake Exploration,     6100 N Western Ave Oklahoma City, OK 73118                 The Bank of New York Trust
       L.L.C.                                                                                 Company, N.A.
                                                                                                                                   D
                                                                                                                                 X E/F
                                                                                                                                   G

2.14   CHK Energy Holdings, Inc.   6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
                                                                                              Americas
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.15   CHK Energy Holdings, Inc.   6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
                                                                                              Americas
                                                                                                                                   D
                                                                                                                                 X E/F
                                                                                                                                   G

2.16   CHK Energy Holdings, Inc.   6100 N Western Ave Oklahoma City, OK 73118                 GLAS USA LLC
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.17   CHK Energy Holdings, Inc.   6100 N Western Ave Oklahoma City, OK 73118                 MUFG Union Bank, N.A.
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G


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Debtor         Northern Michigan Exploration Company, L.L.C.                           Case number (if known) 20-33271 (DRJ)
              Name




            Additional Page if Debtor Has More Codebtors


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         Column 1: Codebtor                                                                    Column 2: Creditor


           Name                         Mailing address                                           Name                          Check all schedules
                                                                                                                                that apply:

2.18   CHK Energy Holdings, Inc.   6100 N Western Ave Oklahoma City, OK 73118                 The Bank of New York Trust
                                                                                              Company, N.A.
                                                                                                                                   D
                                                                                                                                 X E/F
                                                                                                                                   G

2.19   Nomac Services, L.L.C.      6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
                                                                                              Americas
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.20   Nomac Services, L.L.C.      6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
                                                                                              Americas
                                                                                                                                   D
                                                                                                                                 X E/F
                                                                                                                                   G

2.21   Nomac Services, L.L.C.      6100 N Western Ave Oklahoma City, OK 73118                 GLAS USA LLC
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.22   Nomac Services, L.L.C.      6100 N Western Ave Oklahoma City, OK 73118                 MUFG Union Bank, N.A.
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.23   Nomac Services, L.L.C.      6100 N Western Ave Oklahoma City, OK 73118                 The Bank of New York Trust
                                                                                              Company, N.A.
                                                                                                                                   D
                                                                                                                                 X E/F
                                                                                                                                   G

2.24   Brazos Valley Longhorn,     6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
       L.L.C.                                                                                 Americas
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.25   Brazos Valley Longhorn,     6100 N Western Ave Oklahoma City, OK 73118                 GLAS USA LLC
       L.L.C.
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.26   Brazos Valley Longhorn,     6100 N Western Ave Oklahoma City, OK 73118                 MUFG Union Bank, N.A.
       L.L.C.
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.27   Chesapeake Land             6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
       Development Company,                                                                   Americas
       L.L.C.                                                                                                                    X D
                                                                                                                                   E/F
                                                                                                                                   G

2.28   Chesapeake Land             6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
       Development Company,                                                                   Americas
       L.L.C.                                                                                                                      D
                                                                                                                                 X E/F
                                                                                                                                   G


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Debtor         Northern Michigan Exploration Company, L.L.C.                           Case number (if known) 20-33271 (DRJ)
              Name




            Additional Page if Debtor Has More Codebtors


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         Column 1: Codebtor                                                                    Column 2: Creditor


           Name                         Mailing address                                           Name                          Check all schedules
                                                                                                                                that apply:

2.29   Chesapeake Land              6100 N Western Ave Oklahoma City, OK 73118                GLAS USA LLC
       Development Company,
       L.L.C.                                                                                                                    X D
                                                                                                                                   E/F
                                                                                                                                   G

2.30   Chesapeake Land              6100 N Western Ave Oklahoma City, OK 73118                MUFG Union Bank, N.A.
       Development Company,
       L.L.C.                                                                                                                    X D
                                                                                                                                   E/F
                                                                                                                                   G

2.31   Chesapeake Land              6100 N Western Ave Oklahoma City, OK 73118                The Bank of New York Trust
       Development Company,                                                                   Company, N.A.
       L.L.C.                                                                                                                      D
                                                                                                                                 X E/F
                                                                                                                                   G

2.32   CHK Utica, L.L.C.            6100 N Western Ave Oklahoma City, OK 73118                Deutsche Bank Trust Company
                                                                                              Americas
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.33   CHK Utica, L.L.C.            6100 N Western Ave Oklahoma City, OK 73118                Deutsche Bank Trust Company
                                                                                              Americas
                                                                                                                                   D
                                                                                                                                 X E/F
                                                                                                                                   G

2.34   CHK Utica, L.L.C.            6100 N Western Ave Oklahoma City, OK 73118                GLAS USA LLC
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.35   CHK Utica, L.L.C.            6100 N Western Ave Oklahoma City, OK 73118                MUFG Union Bank, N.A.
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.36   CHK Utica, L.L.C.            6100 N Western Ave Oklahoma City, OK 73118                The Bank of New York Trust
                                                                                              Company, N.A.
                                                                                                                                   D
                                                                                                                                 X E/F
                                                                                                                                   G

2.37   Chesapeake Louisiana, L.P.   6100 N Western Ave Oklahoma City, OK 73118                Deutsche Bank Trust Company
                                                                                              Americas
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.38   Chesapeake Louisiana, L.P.   6100 N Western Ave Oklahoma City, OK 73118                Deutsche Bank Trust Company
                                                                                              Americas
                                                                                                                                   D
                                                                                                                                 X E/F
                                                                                                                                   G

2.39   Chesapeake Louisiana, L.P.   6100 N Western Ave Oklahoma City, OK 73118                GLAS USA LLC
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G


Official Form 206H                                             Schedule H: Codebtors                                           Page 4 of 17
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Debtor         Northern Michigan Exploration Company, L.L.C.                           Case number (if known) 20-33271 (DRJ)
              Name




           Additional Page if Debtor Has More Codebtors


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         Column 1: Codebtor                                                                    Column 2: Creditor


           Name                         Mailing address                                           Name                          Check all schedules
                                                                                                                                that apply:

2.40   Chesapeake Louisiana, L.P.   6100 N Western Ave Oklahoma City, OK 73118                MUFG Union Bank, N.A.
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.41   Chesapeake Louisiana, L.P.   6100 N Western Ave Oklahoma City, OK 73118                The Bank of New York Trust
                                                                                              Company, N.A.
                                                                                                                                   D
                                                                                                                                 X E/F
                                                                                                                                   G

2.42   Burleson Sand LLC            6100 N Western Ave Oklahoma City, OK 73118                Deutsche Bank Trust Company
                                                                                              Americas
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.43   Burleson Sand LLC            6100 N Western Ave Oklahoma City, OK 73118                GLAS USA LLC
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.44   Burleson Sand LLC            6100 N Western Ave Oklahoma City, OK 73118                MUFG Union Bank, N.A.
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.45   Compass Manufacturing,       6100 N Western Ave Oklahoma City, OK 73118                Deutsche Bank Trust Company
       L.L.C.                                                                                 Americas
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.46   Compass Manufacturing,       6100 N Western Ave Oklahoma City, OK 73118                Deutsche Bank Trust Company
       L.L.C.                                                                                 Americas
                                                                                                                                   D
                                                                                                                                 X E/F
                                                                                                                                   G

2.47   Compass Manufacturing,       6100 N Western Ave Oklahoma City, OK 73118                GLAS USA LLC
       L.L.C.
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.48   Compass Manufacturing,       6100 N Western Ave Oklahoma City, OK 73118                MUFG Union Bank, N.A.
       L.L.C.
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.49   Compass Manufacturing,       6100 N Western Ave Oklahoma City, OK 73118                The Bank of New York Trust
       L.L.C.                                                                                 Company, N.A.
                                                                                                                                   D
                                                                                                                                 X E/F
                                                                                                                                   G

2.50   Petromax E&P Burleson, LLC 6100 N Western Ave Oklahoma City, OK 73118                  Deutsche Bank Trust Company
                                                                                              Americas
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G


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Debtor         Northern Michigan Exploration Company, L.L.C.                           Case number (if known) 20-33271 (DRJ)
              Name




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         Column 1: Codebtor                                                                    Column 2: Creditor


           Name                         Mailing address                                           Name                          Check all schedules
                                                                                                                                that apply:

2.51   Petromax E&P Burleson, LLC 6100 N Western Ave Oklahoma City, OK 73118                  GLAS USA LLC
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.52   Petromax E&P Burleson, LLC 6100 N Western Ave Oklahoma City, OK 73118                  MUFG Union Bank, N.A.
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.53   Chesapeake Midstream        6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
       Development, L.L.C.                                                                    Americas
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.54   Chesapeake Midstream        6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
       Development, L.L.C.                                                                    Americas
                                                                                                                                   D
                                                                                                                                 X E/F
                                                                                                                                   G

2.55   Chesapeake Midstream        6100 N Western Ave Oklahoma City, OK 73118                 GLAS USA LLC
       Development, L.L.C.
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.56   Chesapeake Midstream        6100 N Western Ave Oklahoma City, OK 73118                 MUFG Union Bank, N.A.
       Development, L.L.C.
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.57   Chesapeake Midstream        6100 N Western Ave Oklahoma City, OK 73118                 The Bank of New York Trust
       Development, L.L.C.                                                                    Company, N.A.
                                                                                                                                   D
                                                                                                                                 X E/F
                                                                                                                                   G

2.58   EMLP, L.L.C.                6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
                                                                                              Americas
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.59   EMLP, L.L.C.                6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
                                                                                              Americas
                                                                                                                                   D
                                                                                                                                 X E/F
                                                                                                                                   G

2.60   EMLP, L.L.C.                6100 N Western Ave Oklahoma City, OK 73118                 GLAS USA LLC
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.61   EMLP, L.L.C.                6100 N Western Ave Oklahoma City, OK 73118                 MUFG Union Bank, N.A.
                                                                                                                                 X D
                                                                                                                                   E/F
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         Column 1: Codebtor                                                                    Column 2: Creditor


           Name                         Mailing address                                           Name                          Check all schedules
                                                                                                                                that apply:

2.62   EMLP, L.L.C.                6100 N Western Ave Oklahoma City, OK 73118                 The Bank of New York Trust
                                                                                              Company, N.A.
                                                                                                                                   D
                                                                                                                                 X E/F
                                                                                                                                   G

2.63   Burleson Water Resources,   6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
       LLC                                                                                    Americas
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.64   Burleson Water Resources,   6100 N Western Ave Oklahoma City, OK 73118                 GLAS USA LLC
       LLC
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.65   Burleson Water Resources,   6100 N Western Ave Oklahoma City, OK 73118                 MUFG Union Bank, N.A.
       LLC
                                                                                                                                 X D
                                                                                                                                   E/F
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2.66   Sparks Drive SWD, Inc.      6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
                                                                                              Americas
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.67   Sparks Drive SWD, Inc.      6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
                                                                                              Americas
                                                                                                                                   D
                                                                                                                                 X E/F
                                                                                                                                   G

2.68   Sparks Drive SWD, Inc.      6100 N Western Ave Oklahoma City, OK 73118                 GLAS USA LLC
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.69   Sparks Drive SWD, Inc.      6100 N Western Ave Oklahoma City, OK 73118                 MUFG Union Bank, N.A.
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.70   Sparks Drive SWD, Inc.      6100 N Western Ave Oklahoma City, OK 73118                 The Bank of New York Trust
                                                                                              Company, N.A.
                                                                                                                                   D
                                                                                                                                 X E/F
                                                                                                                                   G

2.71   Empress Louisiana           6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
       Properties, L.P.                                                                       Americas
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.72   Empress Louisiana           6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
       Properties, L.P.                                                                       Americas
                                                                                                                                   D
                                                                                                                                 X E/F
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           Name                         Mailing address                                           Name                          Check all schedules
                                                                                                                                that apply:

2.73   Empress Louisiana           6100 N Western Ave Oklahoma City, OK 73118                 GLAS USA LLC
       Properties, L.P.
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.74   Empress Louisiana           6100 N Western Ave Oklahoma City, OK 73118                 MUFG Union Bank, N.A.
       Properties, L.P.
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.75   Empress Louisiana           6100 N Western Ave Oklahoma City, OK 73118                 The Bank of New York Trust
       Properties, L.P.                                                                       Company, N.A.
                                                                                                                                   D
                                                                                                                                 X E/F
                                                                                                                                   G

2.76   Chesapeake NG Ventures      6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
       Corporation                                                                            Americas
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.77   Chesapeake NG Ventures      6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
       Corporation                                                                            Americas
                                                                                                                                   D
                                                                                                                                 X E/F
                                                                                                                                   G

2.78   Chesapeake NG Ventures      6100 N Western Ave Oklahoma City, OK 73118                 GLAS USA LLC
       Corporation
                                                                                                                                 X D
                                                                                                                                   E/F
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2.79   Chesapeake NG Ventures      6100 N Western Ave Oklahoma City, OK 73118                 MUFG Union Bank, N.A.
       Corporation
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.80   Chesapeake NG Ventures      6100 N Western Ave Oklahoma City, OK 73118                 The Bank of New York Trust
       Corporation                                                                            Company, N.A.
                                                                                                                                   D
                                                                                                                                 X E/F
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2.81   Chesapeake AEZ Exploration, 6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
       L.L.C.                                                                                 Americas
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.82   Chesapeake AEZ Exploration, 6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
       L.L.C.                                                                                 Americas
                                                                                                                                   D
                                                                                                                                 X E/F
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2.83   Chesapeake AEZ Exploration, 6100 N Western Ave Oklahoma City, OK 73118                 GLAS USA LLC
       L.L.C.
                                                                                                                                 X D
                                                                                                                                   E/F
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           Name                         Mailing address                                           Name                          Check all schedules
                                                                                                                                that apply:

2.84   Chesapeake AEZ Exploration, 6100 N Western Ave Oklahoma City, OK 73118                 MUFG Union Bank, N.A.
       L.L.C.
                                                                                                                                 X D
                                                                                                                                   E/F
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2.85   Chesapeake AEZ Exploration, 6100 N Western Ave Oklahoma City, OK 73118                 The Bank of New York Trust
       L.L.C.                                                                                 Company, N.A.
                                                                                                                                   D
                                                                                                                                 X E/F
                                                                                                                                   G

2.86   WHE AcqCo., LLC             6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
                                                                                              Americas
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.87   WHE AcqCo., LLC             6100 N Western Ave Oklahoma City, OK 73118                 GLAS USA LLC
                                                                                                                                 X D
                                                                                                                                   E/F
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2.88   WHE AcqCo., LLC             6100 N Western Ave Oklahoma City, OK 73118                 MUFG Union Bank, N.A.
                                                                                                                                 X D
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2.89   Empress, L.L.C.             6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
                                                                                              Americas
                                                                                                                                 X D
                                                                                                                                   E/F
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2.90   Empress, L.L.C.             6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
                                                                                              Americas
                                                                                                                                   D
                                                                                                                                 X E/F
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2.91   Empress, L.L.C.             6100 N Western Ave Oklahoma City, OK 73118                 GLAS USA LLC
                                                                                                                                 X D
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2.92   Empress, L.L.C.             6100 N Western Ave Oklahoma City, OK 73118                 MUFG Union Bank, N.A.
                                                                                                                                 X D
                                                                                                                                   E/F
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2.93   Empress, L.L.C.             6100 N Western Ave Oklahoma City, OK 73118                 The Bank of New York Trust
                                                                                              Company, N.A.
                                                                                                                                   D
                                                                                                                                 X E/F
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2.94   Chesapeake Operating,       6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
       L.L.C.                                                                                 Americas
                                                                                                                                 X D
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           Name                         Mailing address                                           Name                          Check all schedules
                                                                                                                                that apply:

2.95   Chesapeake Operating,       6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
       L.L.C.                                                                                 Americas
                                                                                                                                   D
                                                                                                                                 X E/F
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2.96   Chesapeake Operating,       6100 N Western Ave Oklahoma City, OK 73118                 GLAS USA LLC
       L.L.C.
                                                                                                                                 X D
                                                                                                                                   E/F
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2.97   Chesapeake Operating,       6100 N Western Ave Oklahoma City, OK 73118                 MUFG Union Bank, N.A.
       L.L.C.
                                                                                                                                 X D
                                                                                                                                   E/F
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2.98   Chesapeake Operating,       6100 N Western Ave Oklahoma City, OK 73118                 The Bank of New York Trust
       L.L.C.                                                                                 Company, N.A.
                                                                                                                                   D
                                                                                                                                 X E/F
                                                                                                                                   G

2.99   WHR Eagle Ford, LLC         6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
                                                                                              Americas
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.100 WHR Eagle Ford, LLC          6100 N Western Ave Oklahoma City, OK 73118                 GLAS USA LLC
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.101 WHR Eagle Ford, LLC          6100 N Western Ave Oklahoma City, OK 73118                 MUFG Union Bank, N.A.
                                                                                                                                 X D
                                                                                                                                   E/F
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2.102 Chesapeake Appalachia,       6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
      L.L.C.                                                                                  Americas
                                                                                                                                 X D
                                                                                                                                   E/F
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2.103 Chesapeake Appalachia,       6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
      L.L.C.                                                                                  Americas
                                                                                                                                   D
                                                                                                                                 X E/F
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2.104 Chesapeake Appalachia,       6100 N Western Ave Oklahoma City, OK 73118                 GLAS USA LLC
      L.L.C.
                                                                                                                                 X D
                                                                                                                                   E/F
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2.105 Chesapeake Appalachia,       6100 N Western Ave Oklahoma City, OK 73118                 MUFG Union Bank, N.A.
      L.L.C.
                                                                                                                                 X D
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           Name                         Mailing address                                           Name                          Check all schedules
                                                                                                                                that apply:

2.106 Chesapeake Appalachia,        6100 N Western Ave Oklahoma City, OK 73118                The Bank of New York Trust
      L.L.C.                                                                                  Company, N.A.
                                                                                                                                   D
                                                                                                                                 X E/F
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2.107 Esquisto Resources II, LLC    6100 N Western Ave Oklahoma City, OK 73118                Deutsche Bank Trust Company
                                                                                              Americas
                                                                                                                                 X D
                                                                                                                                   E/F
                                                                                                                                   G

2.108 Esquisto Resources II, LLC    6100 N Western Ave Oklahoma City, OK 73118                GLAS USA LLC
                                                                                                                                 X D
                                                                                                                                   E/F
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2.109 Esquisto Resources II, LLC    6100 N Western Ave Oklahoma City, OK 73118                MUFG Union Bank, N.A.
                                                                                                                                 X D
                                                                                                                                   E/F
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2.110 Chesapeake Plains, LLC        6100 N Western Ave Oklahoma City, OK 73118                Deutsche Bank Trust Company
                                                                                              Americas
                                                                                                                                 X D
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2.111 Chesapeake Plains, LLC        6100 N Western Ave Oklahoma City, OK 73118                Deutsche Bank Trust Company
                                                                                              Americas
                                                                                                                                   D
                                                                                                                                 X E/F
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2.112 Chesapeake Plains, LLC        6100 N Western Ave Oklahoma City, OK 73118                GLAS USA LLC
                                                                                                                                 X D
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2.113 Chesapeake Plains, LLC        6100 N Western Ave Oklahoma City, OK 73118                MUFG Union Bank, N.A.
                                                                                                                                 X D
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2.114 Chesapeake Plains, LLC        6100 N Western Ave Oklahoma City, OK 73118                The Bank of New York Trust
                                                                                              Company, N.A.
                                                                                                                                   D
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2.115 WildHorse Resources II, LLC   6100 N Western Ave Oklahoma City, OK 73118                Deutsche Bank Trust Company
                                                                                              Americas
                                                                                                                                 X D
                                                                                                                                   E/F
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2.116 WildHorse Resources II, LLC   6100 N Western Ave Oklahoma City, OK 73118                GLAS USA LLC
                                                                                                                                 X D
                                                                                                                                   E/F
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           Name                         Mailing address                                           Name                          Check all schedules
                                                                                                                                that apply:

2.117 WildHorse Resources II, LLC   6100 N Western Ave Oklahoma City, OK 73118                MUFG Union Bank, N.A.
                                                                                                                                 X D
                                                                                                                                   E/F
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2.118 Chesapeake E&P Holding,       6100 N Western Ave Oklahoma City, OK 73118                Deutsche Bank Trust Company
      L.L.C.                                                                                  Americas
                                                                                                                                 X D
                                                                                                                                   E/F
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2.119 Chesapeake E&P Holding,       6100 N Western Ave Oklahoma City, OK 73118                Deutsche Bank Trust Company
      L.L.C.                                                                                  Americas
                                                                                                                                   D
                                                                                                                                 X E/F
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2.120 Chesapeake E&P Holding,       6100 N Western Ave Oklahoma City, OK 73118                GLAS USA LLC
      L.L.C.
                                                                                                                                 X D
                                                                                                                                   E/F
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2.121 Chesapeake E&P Holding,       6100 N Western Ave Oklahoma City, OK 73118                MUFG Union Bank, N.A.
      L.L.C.
                                                                                                                                 X D
                                                                                                                                   E/F
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2.122 Chesapeake E&P Holding,       6100 N Western Ave Oklahoma City, OK 73118                The Bank of New York Trust
      L.L.C.                                                                                  Company, N.A.
                                                                                                                                   D
                                                                                                                                 X E/F
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2.123 GSF, L.L.C.                   6100 N Western Ave Oklahoma City, OK 73118                Deutsche Bank Trust Company
                                                                                              Americas
                                                                                                                                 X D
                                                                                                                                   E/F
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2.124 GSF, L.L.C.                   6100 N Western Ave Oklahoma City, OK 73118                Deutsche Bank Trust Company
                                                                                              Americas
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2.125 GSF, L.L.C.                   6100 N Western Ave Oklahoma City, OK 73118                GLAS USA LLC
                                                                                                                                 X D
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2.126 GSF, L.L.C.                   6100 N Western Ave Oklahoma City, OK 73118                MUFG Union Bank, N.A.
                                                                                                                                 X D
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2.127 GSF, L.L.C.                   6100 N Western Ave Oklahoma City, OK 73118                The Bank of New York Trust
                                                                                              Company, N.A.
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           Name                         Mailing address                                           Name                          Check all schedules
                                                                                                                                that apply:

2.128 WildHorse Resources          6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
      Management Company, LLC                                                                 Americas
                                                                                                                                 X D
                                                                                                                                   E/F
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2.129 WildHorse Resources          6100 N Western Ave Oklahoma City, OK 73118                 GLAS USA LLC
      Management Company, LLC
                                                                                                                                 X D
                                                                                                                                   E/F
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2.130 WildHorse Resources          6100 N Western Ave Oklahoma City, OK 73118                 MUFG Union Bank, N.A.
      Management Company, LLC
                                                                                                                                 X D
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2.131 Chesapeake Royalty, L.L.C.   6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
                                                                                              Americas
                                                                                                                                 X D
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2.132 Chesapeake Royalty, L.L.C.   6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
                                                                                              Americas
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2.133 Chesapeake Royalty, L.L.C.   6100 N Western Ave Oklahoma City, OK 73118                 GLAS USA LLC
                                                                                                                                 X D
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2.134 Chesapeake Royalty, L.L.C.   6100 N Western Ave Oklahoma City, OK 73118                 MUFG Union Bank, N.A.
                                                                                                                                 X D
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2.135 Chesapeake Royalty, L.L.C.   6100 N Western Ave Oklahoma City, OK 73118                 The Bank of New York Trust
                                                                                              Company, N.A.
                                                                                                                                   D
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2.136 Chesapeake Energy            6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
      Corporation                                                                             Americas
                                                                                                                                 X D
                                                                                                                                   E/F
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2.137 Chesapeake Energy            6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
      Corporation                                                                             Americas
                                                                                                                                   D
                                                                                                                                 X E/F
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2.138 Chesapeake Energy            6100 N Western Ave Oklahoma City, OK 73118                 GLAS USA LLC
      Corporation
                                                                                                                                 X D
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           Name                         Mailing address                                           Name                          Check all schedules
                                                                                                                                that apply:

2.139 Chesapeake Energy            6100 N Western Ave Oklahoma City, OK 73118                 MUFG Union Bank, N.A.
      Corporation
                                                                                                                                 X D
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2.140 Chesapeake Energy            6100 N Western Ave Oklahoma City, OK 73118                 The Bank of New York Trust
      Corporation                                                                             Company, N.A.
                                                                                                                                   D
                                                                                                                                 X E/F
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2.141 MC Louisiana Minerals,       6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
      L.L.C.                                                                                  Americas
                                                                                                                                 X D
                                                                                                                                   E/F
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2.142 MC Louisiana Minerals,       6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
      L.L.C.                                                                                  Americas
                                                                                                                                   D
                                                                                                                                 X E/F
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2.143 MC Louisiana Minerals,       6100 N Western Ave Oklahoma City, OK 73118                 GLAS USA LLC
      L.L.C.
                                                                                                                                 X D
                                                                                                                                   E/F
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2.144 MC Louisiana Minerals,       6100 N Western Ave Oklahoma City, OK 73118                 MUFG Union Bank, N.A.
      L.L.C.
                                                                                                                                 X D
                                                                                                                                   E/F
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2.145 MC Louisiana Minerals,       6100 N Western Ave Oklahoma City, OK 73118                 The Bank of New York Trust
      L.L.C.                                                                                  Company, N.A.
                                                                                                                                   D
                                                                                                                                 X E/F
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2.146 Winter Moon Energy           6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
      Corporation                                                                             Americas
                                                                                                                                 X D
                                                                                                                                   E/F
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2.147 Winter Moon Energy           6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
      Corporation                                                                             Americas
                                                                                                                                   D
                                                                                                                                 X E/F
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2.148 Winter Moon Energy           6100 N Western Ave Oklahoma City, OK 73118                 GLAS USA LLC
      Corporation
                                                                                                                                 X D
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2.149 Winter Moon Energy           6100 N Western Ave Oklahoma City, OK 73118                 MUFG Union Bank, N.A.
      Corporation
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Debtor         Northern Michigan Exploration Company, L.L.C.                           Case number (if known) 20-33271 (DRJ)
              Name




           Additional Page if Debtor Has More Codebtors


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         Column 1: Codebtor                                                                    Column 2: Creditor


           Name                         Mailing address                                           Name                          Check all schedules
                                                                                                                                that apply:

2.150 Winter Moon Energy           6100 N Western Ave Oklahoma City, OK 73118                 The Bank of New York Trust
      Corporation                                                                             Company, N.A.
                                                                                                                                   D
                                                                                                                                 X E/F
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2.151 Chesapeake VRT, L.L.C.       6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
                                                                                              Americas
                                                                                                                                 X D
                                                                                                                                   E/F
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2.152 Chesapeake VRT, L.L.C.       6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
                                                                                              Americas
                                                                                                                                   D
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2.153 Chesapeake VRT, L.L.C.       6100 N Western Ave Oklahoma City, OK 73118                 GLAS USA LLC
                                                                                                                                 X D
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2.154 Chesapeake VRT, L.L.C.       6100 N Western Ave Oklahoma City, OK 73118                 MUFG Union Bank, N.A.
                                                                                                                                 X D
                                                                                                                                   E/F
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2.155 Chesapeake VRT, L.L.C.       6100 N Western Ave Oklahoma City, OK 73118                 The Bank of New York Trust
                                                                                              Company, N.A.
                                                                                                                                   D
                                                                                                                                 X E/F
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2.156 Chesapeake Energy            6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
      Louisiana, LLC                                                                          Americas
                                                                                                                                 X D
                                                                                                                                   E/F
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2.157 Chesapeake Energy            6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
      Louisiana, LLC                                                                          Americas
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2.158 Chesapeake Energy            6100 N Western Ave Oklahoma City, OK 73118                 GLAS USA LLC
      Louisiana, LLC
                                                                                                                                 X D
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2.159 Chesapeake Energy            6100 N Western Ave Oklahoma City, OK 73118                 MUFG Union Bank, N.A.
      Louisiana, LLC
                                                                                                                                 X D
                                                                                                                                   E/F
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2.160 Chesapeake Energy            6100 N Western Ave Oklahoma City, OK 73118                 The Bank of New York Trust
      Louisiana, LLC                                                                          Company, N.A.
                                                                                                                                   D
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Debtor         Northern Michigan Exploration Company, L.L.C.                           Case number (if known) 20-33271 (DRJ)
              Name




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         Column 1: Codebtor                                                                    Column 2: Creditor


           Name                         Mailing address                                           Name                          Check all schedules
                                                                                                                                that apply:

2.161 MC Mineral Company, L.L.C.   6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
                                                                                              Americas
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2.162 MC Mineral Company, L.L.C.   6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
                                                                                              Americas
                                                                                                                                   D
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2.163 MC Mineral Company, L.L.C.   6100 N Western Ave Oklahoma City, OK 73118                 GLAS USA LLC
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2.164 MC Mineral Company, L.L.C.   6100 N Western Ave Oklahoma City, OK 73118                 MUFG Union Bank, N.A.
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2.165 MC Mineral Company, L.L.C.   6100 N Western Ave Oklahoma City, OK 73118                 The Bank of New York Trust
                                                                                              Company, N.A.
                                                                                                                                   D
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2.166 Chesapeake-Clements          6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
      Acquisition, L.L.C.                                                                     Americas
                                                                                                                                 X D
                                                                                                                                   E/F
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2.167 Chesapeake-Clements          6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
      Acquisition, L.L.C.                                                                     Americas
                                                                                                                                   D
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2.168 Chesapeake-Clements          6100 N Western Ave Oklahoma City, OK 73118                 GLAS USA LLC
      Acquisition, L.L.C.
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2.169 Chesapeake-Clements          6100 N Western Ave Oklahoma City, OK 73118                 MUFG Union Bank, N.A.
      Acquisition, L.L.C.
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2.170 Chesapeake-Clements          6100 N Western Ave Oklahoma City, OK 73118                 The Bank of New York Trust
      Acquisition, L.L.C.                                                                     Company, N.A.
                                                                                                                                   D
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2.171 Chesapeake Energy            6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
      Marketing, L.L.C.                                                                       Americas
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Debtor         Northern Michigan Exploration Company, L.L.C.                           Case number (if known) 20-33271 (DRJ)
              Name




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           Name                         Mailing address                                           Name                          Check all schedules
                                                                                                                                that apply:

2.172 Chesapeake Energy            6100 N Western Ave Oklahoma City, OK 73118                 Deutsche Bank Trust Company
      Marketing, L.L.C.                                                                       Americas
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2.173 Chesapeake Energy            6100 N Western Ave Oklahoma City, OK 73118                 GLAS USA LLC
      Marketing, L.L.C.
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2.174 Chesapeake Energy            6100 N Western Ave Oklahoma City, OK 73118                 MUFG Union Bank, N.A.
      Marketing, L.L.C.
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2.175 Chesapeake Energy            6100 N Western Ave Oklahoma City, OK 73118                 The Bank of New York Trust
      Marketing, L.L.C.                                                                       Company, N.A.
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    Northern Michigan Exploration Company, L.L.C.

                            Southern                            Texas

              20-33271 (DRJ)




                                                                                                         12/15




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X




            08/21/2020                              /s/ William M. Buergler




                                                    William M. Buergler


                                                    Senior Vice President and Chief Accounting Officer
